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JACQUELINE STEVENS,
Plaintiff,

v.                                                      No. 21 C 2232
                                                        Judge Tharp

U.S. IMMIGRATION AND CUSTOMS
ENFORCEMENT, et al.,
Defendants.

__________________________________

       PLAINTIFF’S RESPONSE TO DEFENDANTS’ L.R. 56.1 STATEMENT OF
       MATERIAL FACTS IN SUPPORT OF DEFENDANTS’ MOTION FOR
       SUMMARY JUDGMENT AND ADDITIONAL UNDISPUTED FACTS

       Plaintiff, Jacqueline Stevens, submits the following Response to Defendants’ statement of

material facts and additional disputed and undisputed facts pursuant to Local Rule 56.1 of the

United States District Court for the Northern District of Illinois.


Jurisdiction and Venue
1. This is an action brought under the Freedom of Information Act (FOIA), and the
court has subject matter jurisdiction under 5 U.S.C. § 552 and 28 U.S.C. § 1331. Dkt. 9 (Answer)
¶¶ 1, 3.

RESPONSE: Undisputed.

2. Venue is proper in this district because plaintiff Jacqueline Stevens resides in this
district. Dkt. 9 (Answer) ¶ 4.

RESPONSE: Undisputed.

Parties

3. Plaintiff Jacqueline Stevens is a professor at Northwestern University. Dkt. 9
(Answer) ¶ 5.

RESPONSE: Undisputed.

4. Defendants U.S. Immigration and Customs Enforcement (ICE), U.S. Customs and
Border Protection (CBP), U.S. Citizenship and Immigration Services (USCIS), Executive Office
for Immigration Review (EOIR), U.S. Navy, U.S. Department of Agriculture (USDA), and U.S.
Department of State are components of the federal government from whom Stevens has sought




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information via FOIA. Dkt. 9 (Answer) ¶ 17.

RESPONSE: Undisputed.

FOIA Requests to ICE
5. When ICE receives a proper FOIA request, ICE’s FOIA office identifies which
program offices are reasonably likely to possess responsive records and initiates searches within
those offices. Ex. A (Schurkamp Decl.) ¶ 8-11. The individuals in each office are directed to
search the file systems—both paper and electronic—that in their judgment are reasonably likely
to contain responsive records. Id. ¶ 11. The offices then provide any potentially responsive
records to ICE’s FOIA office, which reviews the records for responsiveness. Id.

RESPONSE: Undisputed to the extent that the factual assertions in Fact 5 are contained in the
Schurkamp Declaration. 1 Disputed in all other respects. Defendant fails to describe the
agency's general file system and the type of records maintained in the various databases.
Defendant’s failure to describe each of their recordkeeping schemes and the specific databases in
which information is stored makes it impossible to determine whether Defendant has searched
the specific databases within each component likely to contain all responsive records. Vietnam
Veterans v. DHS, 8 F. Supp. 3d 188, 221 (D. Conn. 2014); Eberg v. Dep’t of Def., 193 F. Supp.
3d 95, 109 (D. Conn. 2016); see also Stevens Decl ¶8-9. Defendant describes a restrictive and
arbitrary and capricious process where as soon as a FOIA request is received an unidentified
agency employee unilaterally decides whether “the requested information is under the purview of
a DHS component other than ICE”, Schurkamp Decl. ¶9-10, which is inconsistent with the
unambiguous language of the statute which mandates that “Except with respect to the records
made available under paragraphs (1) and (2) of this subsection, and except as provided in
subparagraph (E), each agency, upon any request for records which (i) reasonably describes
such records and (ii) is made in accordance with published rules stating the time, place, fees (if
any), and procedures to be followed, shall make the records promptly available to any person, 5
U.S.C. § 553(a)(3)(A) (emphasis added), and do so after a proper “search.”

6. ICE employees maintain records in several ways and may store electronic records
on their individual computer hard drives, on their office’s shared drive if available, or on storage
devices like DVDs, CDs, and USB drives. Ex. A (Schurkamp Decl.) ¶ 12.

RESPONSE: See response to Fact No. 5

7. ICE employees also have access to email, and each employee stores their email in
the way that works best for that employee: archiving by time period, archiving by subject, or
creating PST files and storing them on a hard drive or shared drive. Ex. A (Schurkamp Decl.) ¶
13.



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     Plaintiff has raised objections in her response as to the legal sufficiency of some of the declarations. To the
    extent certain of Defendants’ facts are supported by Plaintiff’s own complaint and/or the attached records to the
    declarations in support of the Motion for Summary Judgment, Plaintiff will designate them as undisputed.
    Plaintiff does not waive the arguments going to the legal sufficiency of the declarations themselves.




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RESPONSE: Undisputed to the extent that the factual assertions in Fact 7 are contained in the
Schurkamp Declaration. The Declaration does not dispute that “outlook” was searched only in
the one of the request. (Schurkamp Decl. ¶23b). No explanation is provided why emails and
“outlook were not searched for the remaining FOIA requests submitted by Plaintiff.

8. Stevens submitted a FOIA request to ICE in March 2017, seeking records regarding
a person named Manuel Valdez Soto. Ex. A (Schurkamp Decl.) ¶ 6a. She filed this lawsuit
before ICE responded. Id. ¶ 6b.

RESPONSE: Undisputed.

9. ICE determined that its Enforcement Removal Operations office was the office that
was reasonably likely to possess responsive records and tasked that office to search for
responsive records. Ex. A (Schurkamp Decl.) ¶ 19.

RESPONSE: Undisputed to the extent that the factual assertions in Fact 9 are contained in the
Schurkamp Declaration. Disputed otherwise. Defendant does not explain on what basis it
determined that the Office of the Principle Legal Advisor, ICE (hereinafter OPLA) should not be
tasked to search its own records and databases. Compare Appeal decision reproduced as Exhibit
to Defendants’ Rule 56.1 Statement, Dkt 31 at PAGE ID229. The operative request here
requested specifically records and communications “by the office of DHS trial attorneys*” and
USCIS. Stevens Decl.¶29 and Exh 3 to said declaration.

10. The Enforcement Removal Operations office searched for records using Manuel
Valdez-Soto’s name and alien number. Ex. A (Schurkamp Decl.) ¶ 22b. The office searched the
Immigration and Enforcement Operational Records System Alien Removal Module, which is a
system used to book, detain, and remove encountered noncitizens. Id. ¶¶ 20c, 22b. The search
yielded one responsive page, which ICE produced. Ex. A (Schurkamp Decl.) ¶ 22c.

RESPONSE: Undisputed to the extent that the factual assertions in Fact 10 are contained in the
Schurkamp Declaration and undisputed as to the last sentence. Disputed in all other respects.
Defendant fails to describe the agency's general file system and the type of records maintained in
the various databases. Defendant’s failure to describe each of their recordkeeping schemes and
the specific databases in which information is stored makes it impossible to determine whether
Defendant has searched the specific databases within each component likely to contain all
responsive records. Vietnam Veterans v. DHS, 8 F. Supp. 3d 188, 221 (D. Conn. 2014); Eberg v.
Dep’t of Def., 193 F. Supp. 3d 95, 109 (D. Conn. 2016). Without such information the Court and
Plaintiff cannot ascertain whether EARM was the location likely to contain responsive records.
Compare Schurkamp Decl at paragraph 20c explaining that search for a similarly situated non-
citizen was conducted in both EARM and ENFORCE. Paragraph 22b declares that ERO IDU
conducted a “routine record search” but provides no details what such “routine record search”
entails. The Declaration states in summary fashion that the search was performed “using the
detained person’s name.” but it is not clear whether the unnamed employee used for example
“Manuel” AND “Soto”, or “Manuel Soto”, or only for “Manuel Valdez Soto”. Compare search
performed by USDA, DSOF at Facts 82-84.




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11. Stevens submitted another FOIA request to ICE in November 2018, seeking records
regarding a person named Nathan Anfinson. Ex. A (Schurkamp Decl.) ¶ 4a.

RESPONSE: Undisputed.

12. ICE determined that its Enforcement Removal Operations office was the office that
was reasonably likely to possess responsive records and tasked that office to search for
responsive records. Ex. A (Schurkamp Decl.) ¶¶ 19-20.

RESPONSE: Undisputed to the extent that the factual assertions in Fact 12 are contained in the
Schurkamp Declaration. Disputed otherwise. Defendant does not explain on what basis it
determined that the Office of the Principle Legal Advisor, ICE (hereinafter OPLA) should not be
tasked to search its own records and databases. Compare Appeal decision reproduced as Exhibit
to Defendants’ Rule 56.1 Statement, Dkt 31 at PAGE ID229. The operative request here
requested specifically “4) Screen shots of all tabs for interfaces to databases consulted for
responsive records, including but not limited to PLAnet”, OPLA main database. Stevens
Decl.¶14, 18 and Attachment A to Schurkamp Decl., DSOMF, p. 46. No explanation is provided
and none exists for Defendant’s failure to search for responsive records in GEMS or NFTS or
why those databases/document repository are not reasonably likely to contain responsive
documents. Stevens Decl ¶19-20.

13. The Enforcement Removal Operations office searched for records using Nathan
Anfinson’s name, date of birth, country of birth, alias, and alien number. Ex. A (Schurkamp
Decl.) ¶ 20c. The office searched the Alien Removal Module mentioned above, and the Central
Index System, which is a database containing information on the status of 57 million applicants
or petitioners seeking immigration benefits, including lawful permanent residents, naturalized
citizens, U.S. border crosses, noncitizens who illegally entered the U.S., noncitizens who have
been issued employment authorization documents, individuals who petitioned for benefits on
behalf of family members, and other individuals subject to the provisions of the Immigration and
Nationality Act. Id. ¶¶ 20c-d.

RESPONSE: Undisputed to the extent that the factual assertions in Fact 13 are contained in the
Schurkamp Declaration. Disputed in all other respects. Defendant fails to describe the agency's
general file system and the type of records maintained in the various databases. Defendant’s
failure to describe each of their recordkeeping schemes and the specific databases in which
information is stored makes it impossible to determine whether Defendant has searched the
specific databases within each component likely to contain all responsive records. Vietnam
Veterans v. DHS, 8 F. Supp. 3d 188, 221 (D. Conn. 2014); Eberg v. Dep’t of Def., 193 F. Supp.
3d 95, 109 (D. Conn. 2016). Without such information the Court and Plaintiff cannot ascertain
whether EARM, ENFORCE, AND CIS were the locations likely to contain responsive records.
Paragraph 20c declares that ERO IDU conducted a “routine record search” but provides no
details what such “routine record search” entails. The Declaration states in summary fashion that
the search was performed “using the detained person’s name, date of birth, country of birth, and
alien number” but it is not clear whether the unnamed employee used for example all criteria at
once or tailored the search to retrieve all responsive documents by conducting sequential
searches starting with the name or alien number. Compare search performed by Compare search




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performed by USDA, DSOF at Facts 82-84. Furthermore, there is no indication that Defendant
searched by the provided alias Alfonso Chavez.

14. ICE produced responsive records in December 2018. Ex. A (Schurkamp Decl.) ¶¶
4c, 20e. Stevens appealed, and after further processing ICE reported to Stevens that it had found
no additional responsive records. Id. ¶¶ 4d-g, 20f-h.

RESPONSE: Disputed. The assertions are misleading and distort that undisputed administrative
record. On December 21, 2018 Defendant produced two pages, under the caption “EARM Case
Summary” in response to for 2019-ICFO-23635. Stevens Decl ¶13. After the administrative
appeal was filed ICE sent Plaintiff a response, stating in part, “Upon a complete review of the
administrative record, ICE has determined that new search(s) or modifications to the existing
search(s) should be made.” Stevens Decl. ¶16. The letter also stated, “...records originating from
the Denver Contract Facility must be requested directly from the facility.” Id.; see also Letter
from Shiraz Panthaky (“Panthaky”) to Jacqueline Stevens, 2019-ICAP-00216/2019-ICFO-
23635, February 27, 2019. No records have been produced following this directed second search
and no details are present in the Declaration. 2 The Declaration provides no facts as to (1) what
locations were search during the “second search”; (2) what terms were used in said alleged
search; and why ICE failed to task the Denver Field Office with searching for responsive
records.

15. After Stevens filed this lawsuit, ICE’s FOIA office tasked the Enforcement
Removal Operations office to conduct a third search, but the ERO office noted the two
previously conducted searches and concluded that a third search was unlikely to uncover any
additional potentially responsive records. Ex. A (Schurkamp Decl.) ¶ 20i.

RESPONSE: Undisputed to the extent that the factual assertions in Fact 15 are contained in the
Schurkamp Declaration. See Response to Fact no 14 above.

16. Stevens submitted another FOIA request to ICE in August 2019, seeking records
regarding a person named Juan Hurtado-Valencia. Ex. A (Schurkamp Decl.) ¶ 5a.

RESPONSE: Undisputed.

17. ICE determined that its Enforcement Removal Operations office was the office that
was reasonably likely to possess responsive records and tasked that office to search for
responsive records. Ex. A (Schurkamp Decl.) ¶ 19.

RESPONSE: Undisputed to the extent that the factual assertions in Fact 17 are contained in the
Schurkamp Declaration. Disputed otherwise. Defendant does not explain on what basis it
determined that the OPLA should not be tasked to search its own records and databases.


2
     To the extent that Defendant(s) may attempt to provide additional declarations in their replies
    attempting to overcome the glaring deficiencies of their initial declaration, Plaintiff objects.
    Such a belated supplementation of the Rule 56 record by the party with the burden of proof
    and persuasion is impermissible and deprives Plaintiff of notice and opportunity to respond.




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Compare Appeal decision reproduced as Exhibit to Defendants’ Rule 56.1 Statement, Dkt 31 at
PAGE ID229. The operative request here requested specifically “2) Screen shots of all tabs for
interfaces to databases consulted for responsive records, including but not limited to PLAnet”,
OPLA main database. Stevens Decl.¶14, 22. No explanation is provided, and none exists for
Defendant’s failure to search for responsive records in GEMS or NFTS or why those
databases/document repositories are not reasonably likely to contain responsive documents.
Stevens Decl ¶19-20, 23.

18. The Enforcement Removal Operations office searched for records using Juan
Hurtado Valencia’s name, date of birth, country of birth, alias, and alien number. Ex. A
(Schurkamp Decl.) ¶ 21c. The office used the booking application called the EID Arrest Guide
for Law Enforcement to retrieve information from the Enforcement Integrated Database. Id. ¶
21d. The Guide is used to process biometric and biographic information of individuals arrested
for violation of immigration laws. Id. The office also searched Outlook, the Central Index
System, and the Alien Removal Module for responsive records. Id.

RESPONSE: Undisputed to the extent that the factual assertions in Fact 18 are contained in the
Schurkamp Declaration. Disputed in all other respect.s Defendant fails to describe the agency's
general file system and the type of records maintained in the various databases. Defendant’s
failure to describe each of their recordkeeping schemes and the specific databases in which
information is stored makes it impossible to determine whether Defendant has searched the
specific databases within each component likely to contain all responsive records. Vietnam
Veterans v. DHS, 8 F. Supp. 3d 188, 221 (D. Conn. 2014); Eberg v. Dep’t of Def., 193 F. Supp.
3d 95, 109 (D. Conn. 2016). Without such information the Court and Plaintiff cannot ascertain
whether EARM, EAGLE, CIS, and Outlook but not ENFORCE were the locations likely to
contain responsive records. Paragraph 21c declares that ERO IDU conducted a “routine record
search” but provides no details what such “routine record search” entails. The Declaration states
in summary fashion that the search was performed “using the detained person’s name, date of
birth, country of birth, and alien number” but it is not clear whether the unnamed employee used
for example all criteria at once or tailored the search to retrieve all responsive documents by
conducting sequential searches starting with the name or alien number. Compare search
performed by USDA, DSOF at Facts 82-84. Also, it is not clear whether the search was done by
using solely the full name “Juan Hurtado-Valencia”, especially since the FOIA request identified
the U.S. citizen’s name as “Juan Guillermo Hurtado Valencia”. Compare Schurkamp ¶20-21 and
exhibit to said declaration reproduced in Dkt 31 at PAGE ID 230. This is not a trivial matter.

19. ICE produced responsive records in December 2019. Ex. A (Schurkamp Decl.) ¶¶
5c, 21f. Stevens appealed, and on administrative review ICE affirmed the adequacy of the initial
search. Id. ¶¶ 5d-f, 21g-i.

RESPONSE: Undisputed.

20. After Stevens filed this lawsuit, ICE’s FOIA office tasked the Enforcement
Removal Operations office to conduct a second search for responsive records, but based on the
previous search the ERO office determined that it was unlikely to possess any additional




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responsive records. Ex. A (Schurkamp Decl.) ¶ 21j.

RESPONSE: Undisputed to the extent that the factual assertions in Fact 20 are contained in the
Schurkamp Declaration.

21. Stevens submitted a fourth FOIA request to ICE in March 2021, seeking.
             All records on which ICE officials rely for creating agency
             statements of FOIA expenditures and budgets in ICE annual
             requests to Congress for funding in FOIA operations, e.g.,
             http://www.dhs.gov/sites/default/files/publications/7_u.s._immigra
             tion_and_customs_enforcement.pdf, ICE – O&S - 3 (pdfp. 29), ICE
             – O&S - 23 (p. 49), ICE – O&S - 51 (p. 77), ICE – O&S - 61 (p.
             87), ICE – O&S - 73 (p. 99), ICE – O&S - 76 (p. 102).
             This includes but is not limited to:
             (a) All information received from contractors informing FOIA
             operation Requests for Information, Requests for Proposals, and
             all current work performed. If a contractor is trying to justify a
             renewal, extension, or addition to an existing contract, all of
             these communications in any form are responsive to this request.
             This includes device text messages, information stored in the
             cloud, email, notes, and communications responsive to current
             or past contracts, such as documentation of expenditures on
             subcontracts, infrastructure, or software outlays.
             (b) Information on FOIA operations and expenditures on which the
             report relies for its representations in ICE budgets about its use
             of financial resources, including but not limited to salaries,
             contracts, and database investments. All related
             communications tied to these budget requests based on FOIA
             operations are responsive to this request.
             (c) Screenshots of all databases on which ICE relies for its fiscal
             year budget requests for funding FOIA operations.
Ex. A (Schurkamp Decl.) ¶ 7a; see also attachment M to Schurkamp Decl. Stevens filed this
lawsuit before ICE responded. Ex. A (Schurkamp Decl.) ¶ 7b.

RESPONSE: Undisputed.

22. ICE determined that its Office of Acquisition Management, Office of the Chief
Information Officer, and Strategic Resourcing Alignment Division were the offices that were
reasonably likely to possess responsive records and tasked those offices to search for responsive
records. Ex. A (Schurkamp Decl.) ¶ 19.

RESPONSE: Undisputed to the extent that the factual assertions in Fact 22 are contained in the
Schurkamp Declaration. Defendant fails to describe the agency's general file system and the type
of records maintained in the various databases. Defendants’ failure to describe each of their
recordkeeping schemes and the specific databases in which information is stored makes it
impossible to determine whether Defendant has searched the specific databases within each




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component likely to contain all responsive records. Vietnam Veterans v. DHS, 8 F. Supp. 3d 188,
221 (D. Conn. 2014); Eberg v. Dep’t of Def., 193 F. Supp. 3d 95, 109 (D. Conn. 2016).

23. A point-of-contact in the Office of Acquisition Management determined that
Outlook should be searched for responsive records, based on the person’s subject matter
expertise and knowledge of the office’s activities. Ex. A (Schurkamp Decl.) ¶ 23b. The person
searched by business name, contract number, and point-of-contact name, and located 64
responsive records, which ICE produced. Id. ¶¶ 23b-c.

RESPONSE: Undisputed to the extent that the factual assertions in Fact 23 are contained in the
Schurkamp Declaration. The declaration does not state the actual search terms used and why
they were selected. Neither the “business name” or the contract number or the point-of-contact
were stated although the request seeks records pertaining to ICE “contractors” not a specific
business.

24. A point-of-contact in the Office of the Chief Information Officer determined that
the office would not have any responsive records, based on the person’s subject matter expertise
and knowledge of the office’s activities. Ex. A (Schurkamp Decl.) ¶ 23d. The office can search
email accounts only if they end in “ice.dhs.gov,” and the request sought information relating to
accounts not ending in “ice.dhs.gov.” Id.

RESPONSE: Undisputed to the extent that the factual assertions in Fact 24 are contained in the
Schurkamp Declaration. See Response to Fact. 23 above.

25. A point-of-contact in the Strategic Resourcing Alignment Division determined that
the Federal Financial Management System should be searched for responsive records, based on
the person’s subject matter expertise and knowledge of the division’s activities. Ex. A
(Schurkamp Decl.) ¶ 23e. The Federal Financial Management System is a web-based workflow
management and financial transaction system that is used to create and maintain a record of each
allocation, commitment, obligation, travel advance, and accounts receivable issued. Id. ¶ 23f.
26. The point-of-contact located two responsive Excel spreadsheets, and ICE produced
them. Ex. A (Schurkamp Decl.) ¶¶ 23g-i.

RESPONSE: Undisputed to the extent that the factual assertions in Fact 25 are contained in the
Schurkamp Declaration.

27. In producing responsive records, ICE withheld information under FOIA exemption
(b)(4) to protect trade secrets and commercial or financial information. Ex. A (Schurkamp Decl.)
¶ 28. For example, ICE redacted contract pricing information from an order for services and
supplies. Id. at Vaughn index entry 2.

RESPONSE: Undisputed. The question of whether the withholdings were proper is a legal
question and the ultimate issue to be decided by the Court, not Defendant.

28. ICE also withheld information under FOIA exemptions (b)(6) and (b)(7)(C), to




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protect the names, identification codes, phone numbers, and signatures of federal law
enforcement officers and other government employees. Ex. A (Schurkamp Decl.) ¶ 30. Under
those same exemptions, ICE also withheld personally identifiable information of third parties,
including names, case numbers, social security numbers, alien numbers, addresses, email
addresses, and phone numbers. Id.

RESPONSE: Undisputed. See Response to Fact. No. 27 above.

29. ICE also withheld information under FOIA exemption (b)(7)(E), to protect from
disclosure law-enforcement-sensitive numbers and codes to various law-enforcement-sensitive
databases and case management systems. Ex. A (Schurkamp Decl.) ¶ 31b. The information could
be used by persons seeking improper access to law enforcement databases, and releasing the
information could reasonably be expected to allow a person to breach the systems and potentially
circumvent detection. Id.

RESPONSE: Undisputed at to the first sentence. See Response to Fact. No 27 above.

FOIA Requests to CBP
30. Stevens submitted a FOIA request to CBP in October 2015, seeking:
          I write under the Freedom of Information Act for all records
          maintained for Lazaro Palma, now deceased. His date of birth
          [redacted]. His place of birth was [redacted]. He was issued a
          “manifest” by a border guard at the Hidalgo border on February 11,
          1950 and thus may have other crossing records on file with Customs
          and Border Protection. I am a writer, a professor, and blogger; as I
          plan to use the information responsive to this request for public
          education, and not for commercial benefit. I request a waiver of
          fees. Please note that Lazaro Palma’s son[,] Lorenzo Palma, is in
          ICE custody and the contents of this file may assist in proving his
          claim to U.S. citizenship. Please note as well that there is strong
          public interest in the detention and deportation of U.S. citizens. This
          request therefore meets both prongs contemplated by the FOIA
          provisions for an expedited response: public interest and immediate
          harm (ICE detaining US citizen is false imprisonment.) Please note
          as evidence of my claims above articles referenced on the
          Deportation Research Clinic website at
          http://northwestern.edu/programs/deportationresearch. Please note
          that the death certificate is attached. If you have any questions
          please feel free to contact me at [redacted]. Thank you for your
          assistance with this matter.
Ex. B (Howard Decl.) ¶¶ 8-9.

RESPONSE: Undisputed.

31. When a FOIA request seeks “all records,” as Stevens’s request did, CBP’s standard
practice is to search for all travel and encounter records at the border. Ex. B (Howard Decl.) ¶¶




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12-13.

RESPONSE: Undisputed to the extent that the factual assertions in Fact 31 are contained in the
Howard Declaration. Disputed otherwise. Stevens Decl.¶¶35-37.

32. CBP determined that the only location that could contain responsive records was
“TECS,” which is an information-sharing platform that allows users to access different
databases, including enforcement, inspection, and operational records relevant to CBP’s mission
of antiterrorism and law enforcement. Ex. B (Howard Decl.) ¶¶ 14-15. TECS is the principal
system used by officers at the border to assist with screening and determining the admissibility
of arriving persons. Id.

RESPONSE: Undisputed to the extent that the factual assertions in Fact 32 are contained in the
Howard Declaration. Defendant fails to describe the agency's general file system and the type of
records maintained in the various databases. Defendants’ failure to describe each of their
recordkeeping schemes and the specific databases in which information is stored makes it
impossible to determine whether Defendant has searched the specific databases within each
component likely to contain all responsive records. Vietnam Veterans v. DHS, 8 F. Supp. 3d 188,
221 (D. Conn. 2014); Eberg v. Dep’t of Def., 193 F. Supp. 3d 95, 109 (D. Conn. 2016).

33. CBP searched TECS for crossing records, secondary inspections, and any border
encounters, using the name and the date of birth that Stevens provided, and found no responsive
records. Ex. B (Howard Decl.) ¶ 16.

RESPONSE: Undisputed to the extent that the factual assertions in Fact 33 are contained in the
Howard Declaration. The Declaration does not provide any information as to whether the search
was conducted using all filters/criteria at the same time or a sequential search was completed by
using the name Lozaro Palma, followed by search for the provided date of birth which would
have retrieved all responsive legacy records. The search was unduly restrictive.

34. In January 2016, CBP sent Stevens a letter stating that it had found no records
responsive to the request. Ex. B (Howard Decl.) ¶ 17.

RESPONSE: Undisputed.

35. CBP has no record of Stevens’s having filed any administrative appeal of the disposition of
her October 2015 FOIA request. Ex. B (Howard Decl.) ¶ 27.

RESPONSE: Undisputed.

36. Stevens submitted another FOIA request to CBP in January 2019, seeking:
           This letter constitutes a request under the Freedom of Information
           Act (“FOIA”), 5 U.S.C. § 552, for all system records pertaining to
           Nathan Afinson aka Alfonso Chavez who may be a U.S. citizen. Mr.
           Afinson was a legal resident he was assigned the alien number
           [redacted]. He was born in [redacted], Mexico on [redacted]. I am




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          interested in any documentation Customs and Border Patrol has on
          Mr. Anfinson. Additionally, I am interested in any paperwork
          addressing Mr. Anfinson’s legal permanent resident status.
Ex. B (Howard Decl.) ¶¶ 19-20.

RESPONSE: Undisputed.

37. CBP determined that the only systems that could contain responsive records were
TECS and the “E3/Enforce” system. Ex. B (Howard Decl.) ¶ 22. The E3/Enforce system is a
portal that CBP uses to collect and transmit biographic, encounter, and biometric data of
individuals for identification and verification of individuals encountered at the border and
checkpoints for CBP’s law enforcement and immigration mission. Id. ¶ 23.

RESPONSE: Undisputed to the extent that the factual assertions in Fact 37 are contained in the
Howard Declaration. Defendant fails to describe the agency's general file system and the type of
records maintained in the various databases. Defendants’ failure to describe each of their
recordkeeping schemes and the specific databases in which information is stored makes it
impossible to determine whether Defendant has searched the specific databases within each
component likely to contain all responsive records. Vietnam Veterans v. DHS, 8 F. Supp. 3d 188,
221 (D. Conn. 2014); Eberg v. Dep’t of Def., 193 F. Supp. 3d 95, 109 (D. Conn. 2016).


38. CBP searched TECS and the E3/Enforce system for responsive records by using
the name, date of birth, and “A-File” number that Stevens provided, and found no responsive
records. Ex. B (Howard Decl.) ¶ 24.

RESPONSE: Undisputed to the extent that the factual assertions in Fact 38 are contained in the
Howard Declaration. The Declaration does not provide any information as to whether the search
was conducted using all filters/criteria at the same time or a sequential search was completed by
using the name Nathan Afinson, followed by search for the provided Alien number which would
have retrieved the responsive legacy records. The Declaration provides no details whether a
search was conducted for the provided alias “Alfonso Chavez”. The search was unduly
restrictive.

39. CBP issued a final response in April 2019, explaining to Stevens that it had found
no responsive records and informing Stevens that records of apprehensions made by border
patrol agents before 2000 could be available in the A-File maintained by USCIS. Ex. B (Howard
Decl.) ¶ 25.

RESPONSE: Undisputed.

40. CBP has no record of Stevens’s having filed any administrative appeal of the disposition of
her January 2019 FOIA request. Ex. B (Howard Decl.) ¶ 27.

RESPONSE: Undisputed.




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FOIA Request to USCIS
41. Stevens submitted a FOIA request to USCIS in November 2018, seeking:
           All system records and all other materials in any medium,
           maintained, received or distributed by USCIS pertaining to Nathan
           Anfinson, aka Alfonso Chavez. His date of birth is August 10, 1983.
           His country of birth is Mexico. His “alien” number is 026917282.
           Mr. Anfinson appears to have a claim of US citizenship and yet was
           deported. I am specifically interested in finding a copy of Mr.
           Anfinson’s certificate of citizenship and any underlying documents
           associated with its application. He believes he saw this document
           in either 1997 or 1998.
Dkt. 9 (Answer) ¶ 85.

RESPONSE: Undisputed.

42. USCIS determined that the request sought documents contained in Nathan Anfinson’s A-file.
Ex. C (Munita Decl.) ¶ 15.

RESPONSE: Undisputed to the extent that the factual assertions in Fact 42 are contained in the
Munita Declaration. The Declaration does not state or explain whether the identified “Nathan
Anfinson’s A-file” contained any documents created or identifiable under the provided alias
“Alfonso Chavez.”

43. To locate these records, USCIS’s FOIA staff ran a computerized data search in
DHS’s file tracking system, RAILS, using the alien number Stevens provided. Ex. C (Munita
Decl.) ¶¶ 11-13.

RESPONSE: Undisputed to the extent that the factual assertions in Fact 42 are contained in the
Munita Declaration. Defendant fails to describe the agency's general file system and the type of
records maintained in the various databases. Defendants’ failure to describe each of their
recordkeeping schemes and the specific databases in which information is stored makes it
impossible to determine whether Defendant has searched the specific databases within each
component likely to contain all responsive records. Vietnam Veterans v. DHS, 8 F. Supp. 3d 188,
221 (D. Conn. 2014); Eberg v. Dep’t of Def., 193 F. Supp. 3d 95, 109 (D. Conn. 2016).


44. USCIS identified 294 pages of responsive records and, in March 2019, produced
206 pages in their entirety, 13 pages in part, and withheld 23 pages in full. Ex. C (Munita Decl.)
¶ 17. USCIS also referred 52 pages to ICE. Id.

RESPONSE: Undisputed.

45. Stevens administratively appealed USCIS’s withholdings, but she did not administratively
appeal the adequacy of the search. Ex. C (Munita Decl.) ¶ 18.




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RESPONSE: Undisputed that the statement appears in Ms. Munita declaration. Disputed
otherwise. Stevens Decl. ¶40.

46. In response, in July 2019 USCIS released 9 more pages of responsive records in full and 4
pages in part. Ex. C (Munita Decl.) ¶ 19.

RESPONSE: Undisputed.

47. In September 2019, Stevens submitted a request for records regarding Jovita Elena
Chavez, the mother of Nathan Anfinson, that had previously been withheld in response to
Stevens’s FOIA request for records regarding Anfinson. Ex. C (Munita Decl.) ¶ 20.

RESPONSE: Undisputed.

48. Confusion ensued regarding whether Stevens had submitted a new request or was
attempting to re-open a closed case. Ex. C (Munita Decl.) ¶ 20. Ultimately, USCIS concluded
that a request had been submitted, though USCIS did not have evidence that Stevens had
submitted “proper consent” and asked Stevens to do so. Id.

RESPONSE: Undisputed as to first sentence. The remainder distort the undisputed record.
Stevens Decl. ¶¶42-44.

49. Stevens provided consent, and after following the A-file search procedure
mentioned above, USCIS produced in full the 13 pages from Chavez’s son’s A-file that were
about Chavez (since Chavez did not have an A-file of her own). Ex. C (Munita Decl.) ¶¶ 11-13,
20.

RESPONSE: Undisputed to the extent that the factual assertions in Fact 49 are contained in the
Munita Declaration. Not all records were produced, specifically a green card depiction
previously produced was not produced and thus remains redacted as is page 111, Stevens Decl.
¶48.

RESPONSE:

50. Stevens submitted another FOIA request to USCIS in August 2019, seeking:
           All system records and all other materials in any medium received
           or distributed by USCIS pertaining to Juan Guillermo Hurtado
           Valencia. His date of birth is [REDACTED]. His country of birth
           is Colombia. His “alien” number is ***-***-571 [REDACTED].
           Please note that my request includes but is not limited to all e-mail,
           memorandums, notes, correspondence, text messages, and archival
           requests, including information about where his documents and
           records were being stored.
           The time frame of this request is 1976 to present.
           I am attaching Mr. Hurtado’s privacy waiver authorizing the release
           of this information to me under the Freedom of Information/Privacy




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           Act. Please note that this also includes his certification of his
           identity.
Dkt. 9 (Answer) ¶ 101.

RESPONSE: Undisputed.

51. In September 2019, USCIS sent Stevens a letter denying the request under 5 U.S.C. §
552(b)(6). Ex. C (Munita Decl.) ¶ 22. The letter explained that if Stevens of her
administrative appeal rights. Id.

RESPONSE: Undisputed.

52. Stevens did not appeal. Id. ¶ 23.

RESPONSE: Undisputed.

53. Regardless, in response to the August 2019 request, after following the A-file search
procedure described above, USCIS ultimately released 222 pages in full, released 64 pages
in part, and withheld 8 pages in full. Ex. C (Munita Decl.) ¶¶ 11-13, 24

RESPONSE: Undisputed that the statements appear in Ms. Munita Declaration. Disputed to the
extent that the records were actually “released.” The alleged production is password protected
and cannot be accessed by Plaintiff. Stevens Decl ¶¶53-56. The Vaughn index produced appears
to be for a different production. Stevens Decl. ¶¶53, 56.

54. Stevens submitted another FOIA request to USCIS in August 2020, seeking:
           1) All system records and other materials in any medium created,
           maintained, or received by USCIS regarding Lorenzo Palma,
           including but not limited to his N-600 application, including all
           records for his grandfather, Lazaro Palma. Lorenzo’s “alien”
           number is 024-863-347. His DOB is 7/28/76. He was born in
           Mexico.
           2) All materials associated with the creation of the Notice of Intent
           letter sent to Mr. Palma regarding his N-600 application. The
           letter is dated July 16th, 2020. The materials I am requesting
           include but are not limited to notes, emails, drafts,
           memorandums, cell text messages, post-its, and all information
           on the PLAnet database and any other database on which USCIS
           officials contributing to the decision about the NOI had access.
           3) Screenshots of interfaces used by USCIS officials creating or
           obtaining information on which USCIS relied in producing the
           NOI letter of July 16, 2020.
Dkt. 9 (Answer) ¶ 111.

RESPONSE: Undisputed.




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55. Following the A-file search procedure described above, USCIS released 577 pages in full and
109 pages in part. Ex. C (Munita Decl.) ¶¶ 11-13, 28.

RESPONSE: Undisputed that the statements appear in Ms. Munita declaration. Disputed
otherwise. The alleged records were never “released” to Plaintiff. Stevens Decl ¶¶58-67.

56. Stevens did not file an administrative appeal. Id. ¶ 29.

RESPONSE: Disputed. The records and “determination” were never provided to Plaintiff to
trigger the administrative appeal process. See Response to Fact no. 55. Moreover, the tracking
number assigned to the request submitted by Plaintiff is different than the one USCIS allegedly
processed. Stevens Decl. ¶¶58-60. A FOIA requester is not required to guess whether the agency
has made a “determination” as the 2016 Amendments provide. Defendant has failed to issue a
proper and sufficient “determination” and Plaintiff thus had nothing to appeal.

57. In producing responsive records, USCIS withheld information under FOIA exemption (b)(3)
to protect information that is exempt from disclosure under Section 222(f) of the
Immigration and Nationality Act, 8 U.S.C. § 1202(f). Ex. C (Munita Decl.) ¶ 33. For example,
USCIS withheld information concerning the issuance or refusal of a permit to enter the United
States by the State Department that is exempt from disclosure by statute. Id. at Anfinson Vaughn
index entry 241.

RESPONSE: Undisputed to the extent that the factual assertions in Fact 57 are contained in the
Munita Declaration. Disputed as to whether redacting old and outdated information meets the
‘foreseeable harm’ standard and the presumption of disclosure. See also Response to Fact no. 55.

58. USCIS also withheld information under FOIA exemption (b)(5) to protect
information protected by the attorney-client, attorney work product, or deliberative process
privileges. Ex. C (Munita Decl.) ¶ 35. For example, USCIS withheld legal advice that an ICE
attorney provided to assist ICE in determining and deciding an issue of citizenship, the
disclosure of which would reveal the attorney’s reasoning and litigation strategy. Id. at Palma-
Rodriguez Vaughn index entry 597-99. See also Response to Fact no. 55.

RESPONSE: Undisputed to the extent that the factual assertions in Fact 57 are contained in the
Munita Declaration. Disputed as to whether redacting old and outdated information meets the
‘foreseeable harm’ standard and the presumption of disclosure.

59. USCIS also withheld information under FOIA exemption (b)(6) to protect from
disclosure identifying information of third parties. Ex. C (Munita Decl.) ¶ 37. USCIS withheld
the names and other personal information regarding individuals who are not the subjects of
Stevens’s FOIA requests, because there is a strong privacy interest and because there is no public
interest in the information since its disclosure would not shed light on how USCIS is performing
its duties. Id. For example, USCIS redacted the names and personal information of third parties
that appeared on documents from immigration court removal proceedings in Houston, Texas. Id.
at Palma-Rodriguez Vaughn index entry 40, 60, 120. See also Response to Fact no. 55




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RESPONSE: Undisputed to the extent that the factual assertions in Fact 59 are contained in the
Munita Declaration. Disputed see response to Fact no. 58. See also Response to Fact no. 55

60. USCIS also withheld information under FOIA exemption (b)(7)(C) to protect
personal information in law enforcement records, the disclosure of which could reasonably be
expected to constitute an unwarranted invasion of personal privacy. Ex. C (Munita Decl.) ¶¶ 39-
40. For example, USCIS redacted the names and locations of ICE attorneys engaged in law
enforcement activity, because disclosing the information could result in harassment, interference
in the performance of their duties, and possibly targeting by hate groups. Id. at Hurtado-Valencia
Vaughn index entry 15.

RESPONSE: Disputed to the extent that whether a withholding is proper is a legal issue and the
ultimate issue to be decided.

61. USCIS also withheld information under FOIA exemption (b)(7)(E) to protect law
enforcement information—including techniques, procedures, and guidelines for investigations—
the disclosure of which could reasonably be expected to risk circumvention of the law. Ex. C
(Munita Decl.) ¶¶41-42. For example, USCIS withheld its Case Processing Background Sheet
and Instructions for Conducting Background Checks, because disclosure would reveal guidelines
and procedures for the enforcement of immigration and national security law and could
reasonably be expected to risk the circumvention of the law and render the guidelines useless. Id.
at Hurtado-Valencia Vaughn index entry 180, 274, 276. See also Response to Fact no. 55

RESPONSE: Undisputed to the extent that the factual assertions in Fact 61 are contained in the
Munita Declaration. Disputed to the extent that whether a withholding is proper is a legal issue
and the ultimate issue to be decided.

FOIA Request to EOIR
62. Stevens submitted a FOIA request to EOIR in July 2020, seeking, from January 1, 2011 to
present:
           1) All system records pertaining to immigration proceedings with
           adjournments referencing claims of U.S. citizenship, i.e. code
           54, “Alien claim to U.S. Citizenship”, or “Alien contesting
           charges citizenship.” Please include all system record fields for
           each case so identified, including but not limited to hearing
           dates, detention location, custody charges, bond, administrative
           closings, etc., as well as system notes, memoranda, and e-mail
           associated with the system data on these cases [and] the case
           status at the time the report is run, that is, whether the
           individual’s case status is “terminated,” “closed,” “voluntary”
           departure,” “removed,” or “appealed,” or some other status, as
           well as the custody status.
           2) All system records pertaining to all cases terminated at any
           hearing, i.e., a first merit hearing or after a remand. Please
           include all system record fields for each case so identified,
           including but not limited to hearing dates, detention location,




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          custody changes, bond, administrative closings, etc., as well as
          all system notes, memoranda, and e-mail associated with the
          system data on these cases.
Ex. D (O’Hara Decl.) ¶ 21.

RESPONSE: Undisputed.

63. EOIR identified its Planning, Analysis, and Statistics Division as the EOIR division
most likely to have responsive records. Ex. D (O’Hara Decl.) ¶¶ 7, 22. The Division extracted
two sets of data from the Case Access System for EOIR, or CASE, which is an electronic case
manager that manages all aspects of an immigration case. Id. ¶¶ 15, 23. The first set of data was
responsive to the first part of Stevens’s request, and the second set of data was responsive to the
second part of Stevens’s request. Id. ¶ 23.

RESPONSE: Undisputed that the statements are contained in Ms. O’Hara’s declaration.
Disputed otherwise. Disputed otherwise. No explanation was provided and none exists as to
why the EOIR’s Office of General Counsel, Office of the Chief Immigration Judge, Office of
Policy were not reasonably likely to have memoranda or e-mail responsive to data on claims of
U.S. citizenship in immigration courts. Stevens Decl.¶ 72-74.

64. The first set of data consisted of four “.csv” files consisting of records of
adjournments with the information Stevens requested: hearing date, custody charge, bond, and
administrative closing. Ex. D (O’Hara Decl.) ¶ 24. The data did not include information on
“detention information” as Stevens had requested, because that information is not reliably or
consistently maintained. Id. ¶¶ 18-19, 24. The “system notes” that Stevens requested were
available only for immigration respondents who were subject to a bond, and when applicable the
data contained that information. Id. ¶ 24.

RESPONSE: Disputed. The cited exhibits do not support the statement of fact(s). Declarant
provides no information as how declarant or EOIR searched and what search terms were used.
Id.

65. As just one representative example, the first set of data shows that a particular
immigration respondent was detained on April 10, 2013, was released on April 29, 2013, was
subject to a bond at some point during the proceedings, made a claim to U.S. citizenship on
October 29, 2013, that the case was transferred to another venue, and that the respondent’s
request for relief was granted with respect to removal. Ex. D (O’Hara Decl.) ¶ 27.

RESPONSE: Undisputed to the extent that the factual assertions in Fact 65 are contained in the
O’Hara Declaration. See Response to Fact. 64.

66. The second set of data consisted of four “.csv” files consisting of records of
terminations with the information Stevens requested: hearing date, custody charge, bond, and
administrative closing. Ex. D (O’Hara Decl.) ¶ 25. The data did not include information on
“detention information” as Stevens had requested, because that information is not reliably or
consistently maintained. Id. ¶¶ 18-19, 25. The “system notes” that Stevens requested were




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available only for immigration respondents who were subject to a bond, and when applicable the
data contained that information. Id. ¶ 25.

RESPONSE: Undisputed to the extent that the factual assertions in Fact 66 are contained in the
O’Hara Declaration. See Response to Fact. 64.

67. As just one representative example, the second set of data shows that a particular
immigration respondent underwent three immigration proceedings starting in October 1995, that
the respondent was subject to a bond at some point during the proceedings, that the case was
transferred to another venue, and that the case was administratively closed in February 1996. Ex.
D (O’Hara Decl.) ¶ 29.

RESPONSE: Undisputed to the extent that the factual assertions in Fact 67 are contained in the
O’Hara Declaration. See Response to Fact. 64.

68. EOIR produced both sets of data, in the form of 8 .csv files, in September 2020. Ex. D
(O’Hara Decl.) ¶ 34.

RESPONSE: Undisputed.

69. EOIR also provided 9 CASE look-up tables that define and allow the reader to interpret the
codes used in the data sets. Ex. D (O’Hara Decl.) ¶¶ 26, 34.

RESPONSE: Undisputed.

70. EOIR initially redacted some of the information but later produced the redacted information
in full. Ex. D (O’Hara Decl.) ¶¶ 34, 41.

RESPONSE: Undisputed.

71. As mentioned above, EOIR searched for and provided Stevens with “system notes”
where available, but EOIR did not search for “memoranda” or “e-mail associated with the
system data on these cases,” because such records are not stored in CASE. Ex. D (O’Hara Decl.)
¶ 30.

RESPONSE: Undisputed to the extent that the factual assertions in Fact 71 are contained in the
O’Hara Declaration. Disputed otherwise. Stevens Decl. ¶¶75-82.

72. EOIR has over 70 immigration courts or adjudication centers throughout the
country, and at each location between 1 and 50 personnel with CASE access might enter
information for a particular proceeding. Ex. D (O’Hara Decl.) ¶ 31. To the extent that any emails
associated with these cases exist, those records would reside in the accounts of individual federal
employees, who enter and leave federal service over time. Id. To search those accounts, EOIR
would have to identify every CASE user over a 10-year period who might have entered
information into CASE, and EOIR does not track this information. Id. As for memoranda, a




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memorandum is not drafted for any single immigration respondent’s proceeding, so no
“memoranda” as contemplated by the request exist. Id. ¶ 33.

RESPONSE: Undisputed to the extent that the factual assertions in Fact 72 are contained in the
O’Hara Declaration.

FOIA Request to U.S. Navy
73. Stevens submitted a FOIA request to the Navy in March 2021, seeking “all system
records and other items maintained, produced, or distributed by the Navy and its components on
Lawrence E. Bowman.” Dkt. 9 (Answer) ¶ 76; Ex. E (Cason Decl.) ¶ 7.

RESPONSE: Undisputed.

74. The Navy interpreted the request as a request for Bowman’s personnel files. Ex. E
(Cason Decl.) ¶ 11.

RESPONSE: Undisputed to the extent that the factual assertions in Fact 74 are contained in the
Carson Declaration.

75. The Navy reviewed the materials Stevens submitted, which included an obituary
asserting that Bowman was a Navy veteran, had been employed by the IRS for more than 25
years, and died in 1995 at the age of 49. Ex. E (Cason Decl.) ¶ 10. These facts suggested to the
Navy that Bowman’s military service occurred prior to 1995, given his age of 49 at the time of
death and his 25-year employment with the IRS. Id.

RESPONSE: Undisputed to the extent that the factual assertions in Fact 75 are contained in the
Carson Declaration.

76. Personnel files of Naval service members who served before 1995 are not
maintained by the Navy; they are maintained by a sub-agency of the National Archives and
Record Administration called the National Personnel Records Center. Ex. E (Cason Decl.) ¶¶ 12-
13.

RESPONSE: Undisputed to the extent that the factual assertions in Fact 76 are contained in the
Carson Declaration.

77. Accordingly, because the Navy is not the custodian of the records Stevens
requested, the Navy referred Stevens’s request to the National Archives and Record
Administration, and the Navy sent Stevens a formal response explaining as much. Ex. E (Cason
Decl.) ¶¶ 14-17.

RESPONSE: Undisputed to the extent that the factual assertions in Fact 77 are contained in the
Carson Declaration.


FOIA Request to USDA




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78. Stevens submitted a FOIA request in August 2020 to usdafoia@ocio.usda.gov,
which is an outdated USDA email address that USDA can no longer access. Ex. F (Graves Decl.)
¶ 5.

RESPONSE: Undisputed.

79. The request sought “all system records, including but not limited to hiring, payment
receipts, immigration documents, and border crossing records, maintained by the Department
regarding Lazaro Palma. Mr. Palma was born on 3/27/1914 and died on 8/26/1991. His death
certificate is attached. On information and belief, Mr. Palma entered the United States in or
around 1942 as part of the ‘Bracero’ program (officially the Mexican Farm Labor Agreement
Act of 1942). The time frame of this request is 1942 to 1950.” Id. ¶ 6.

RESPONSE: Undisputed.

80. USDA learned of the request in May 2021, after Stevens filed this lawsuit. Ex. F
(Graves Decl.) ¶ 6. The following month, USDA identified its National Finance Center, its Farm
Production and Conservation Business Center, and its Forest Service as the USDA components
likely to have responsive records. Id. ¶ 7. USDA tasked those components with searching for
responsive records relating to hiring, payment, or law enforcement. Id.

RESPONSE: Undisputed to the extent that the factual assertions in Fact 80 are contained in the
Graves Declaration. Disputed. Defendant fails to describe the agency's general file system and
the type of records maintained in the various databases. Defendants’ failure to describe each of
their recordkeeping schemes and the specific databases in which information is stored makes it
impossible to determine whether Defendant has searched the specific databases within each
component likely to contain all responsive records. Vietnam Veterans v. DHS, 8 F. Supp. 3d 188,
221 (D. Conn. 2014); Eberg v. Dep’t of Def., 193 F. Supp. 3d 95, 109 (D. Conn. 2016).

81. USDA did not search for immigration- or border-crossing-related records, because
those subjects do not relate to USDA’s mission of providing leadership on food, agriculture,
natural resources, rural development, nutrition, and similar issues. Ex. F (Graves Decl.) ¶ 7.
USDA searched all locations likely to have responsive records. Id. ¶ 11.

RESPONSE: Undisputed to the extent that the factual assertions in Fact 81 are contained in the
Graves Declaration. Disputed otherwise. In the 1940 the Department of Agriculture issued
report and bulletins pertaining to the Bracero program, subject to the request. Stevens Decl.
¶¶83-86. See response to Fact. No. 80.

82. USDA’s National Finance Center concluded that any responsive records would be
found within its Information Research Inquiry System, or IRIS, which allows for searches of
current and historical payroll and personnel data contained in the agency’s Payroll/Personnel
Database, its Personal History Information System, and its Name Inquiry Database. Ex. F
(Graves Decl.) ¶ 8. The National Finance Center searched IRIS for any hiring or payment
records related to Lazaro Palma using the terms “Palma” and “Lazaro” and found no responsive




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records. Id. The National Finance Center then tried the search again using Lazaro’s social
security number and found no responsive records. Id.

RESPONSE: Undisputed to the extent that the factual assertions in Fact 82 are contained in the
Graves Declaration.

83. USDA’s Farm Production and Conservation Business Center Stakeholder Relations
Branch concluded that any responsive records would be found within its Service Center
Information Management System, or SCIMS, which is a database that maintains and manages
the Farm Service Agency and Natural Resource Conservation Service’s customer data. Ex. F
(Graves Decl.) ¶ 9. The Stakeholder Relations Branch performed a nationwide search of SCIMS
using the search terms “Palma” and “Lazaro” and found no responsive records. Id.

RESPONSE: Undisputed to the extent that the factual assertions in Fact 83 are contained in the
Graves Declaration.

84. USDA’s Forest Service Law Enforcement and Investigation organization
concluded that any responsive records would be found within the Law Enforcement Investigation
Management Attainment Reporting System (LEIMARS) or its Law Enforcement and
Investigations Reporting System (LEIRS), which are used to collect information regarding
criminal incidents. Ex. F (Graves Decl.) ¶ 10. The organization searched those systems using the
search terms “Palma” and “Lazaro” and found no responsive records. Id.

RESPONSE: Undisputed to the extent that the factual assertions in Fact 84 are contained in the
Graves Declaration.

FOIA Requests to State
85. Stevens submitted a FOIA request to the State Department in March 2021, seeking
all the Department’s records relating to a person named Alma Bowman, who was issued a green
card in 1977. Ex. G (Weetman Decl.) ¶¶ 5, 12.

RESPONSE: Undisputed.

86. The Department determined that several locations were reasonably likely to have
responsive records: its Bureau of Consular Affairs; its electronic records system, known as the
“eRecords” archive; its Passport Information Electronic Records System; and the National
Archives and Records Administration’s Washington National Records Center. Ex. G (Weetman
Decl.) ¶ 12.

RESPONSE: Undisputed to the extent that the factual assertions in Fact 86 are contained in the
Weetman Declaration. Disputed. Defendant fails to describe the agency's general file system and
the type of records maintained in the various databases. Defendants’ failure to describe each of
their recordkeeping schemes and the specific databases in which information is stored makes it
impossible to determine whether Defendant has searched the specific databases within each
component likely to contain all responsive records. Vietnam Veterans v. DHS, 8 F. Supp. 3d 188,
221 (D. Conn. 2014); Eberg v. Dep’t of Def., 193 F. Supp. 3d 95, 109 (D. Conn. 2016).




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87. The Department concluded that no other offices or records systems were reasonably
likely to maintain responsive records, including the U.S. Embassy in Manila, which was unlikely
to have preserved a case file from 45 years ago since case files on aliens issued visas may be
destroyed six months after issuance. Ex. G (Weetman Decl.) ¶¶ 12-13.

RESPONSE: Undisputed to the extent that the factual assertions in Fact 87 are contained in the
Weetman Declaration. Disputed otherwise. See Response to Fact 86.

88. The Bureau of Consular Affairs’ Passport Office assessed that the requested records
were likely to be located in the National Archives and Records Administration’s Washington
National Records Center and asked the center to search for records using various names Bowman
may have used along with other biographical information such as her date and place of birth. Ex.
G (Weetman Decl.) ¶ 17.

RESPONSE: Undisputed to the extent that the factual assertions in Fact 88 are contained in the
Weetman Declaration. Disputed in all other respects. Defendant fails to describe the agency's
general file system and the type of records maintained in the various databases. Defendant’s
failure to describe each of their recordkeeping schemes and the specific databases in which
information is stored makes it impossible to determine whether Defendant has searched the
specific databases within each component likely to contain all responsive records. Vietnam
Veterans v. DHS, 8 F. Supp. 3d 188, 221 (D. Conn. 2014); Eberg v. Dep’t of Def., 193 F. Supp.
3d 95, 109 (D. Conn. 2016). Without such information the Court and Plaintiff cannot ascertain
whether Defendant searched the location likely to contain responsive records. The Declaration
states in summary fashion that the search was performed “using various names.” but it is not
clear whether the unnamed employee used for example “Alma” AND “Bowman” or “Alma Bella
Bowman.” Compare search performed by USDA, DSOF at Facts 82-84. The Declaration does
not state that the agency searched using all provided alias.

89. Although the Department was under no legal obligation to search National Archives
and Records Administration records, which are no longer under the Department’s control, the
Department nonetheless asked the Administration to conduct a search in order to help Stevens
find relevant records. Ex. G (Weetman Decl.) ¶ 12.

RESPONSE: Undisputed.

90. The Bureau of Consular Affairs’ Passport Office also searched the Department’s
Passport Information Electronic Records System—a database of all U.S. passport information
and consular records of overseas births and deaths—using the same names and information. Id.
¶¶ 18- 19.

RESPONSE: Undisputed to the extent that the factual assertions in Fact 90 are contained in the
Weetman Declaration.

91. The Bureau of Consular Affairs’ Visa Office searched the Department’s Consular
Consolidated Database, which is a system of databases containing a record of every U.S. visa




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application made since 1997, using various names Bowman may have used along with her date
of birth. Ex. G (Weetman Decl.) ¶¶ 21-22.

RESPONSE: Undisputed to the extent that the factual assertions in Fact 91 are contained in the
Weetman Declaration.

92. The Department searched its eRecords archive—the Department’s central
repository for storing electronic records such as correspondence, diplomatic notes, cables, all
emails sent on the state.gov network since January 1, 2017, and certain retired records including
pre-2017 email records of certain former senior officials—using the search terms “Alma
Bowman,” “Lolita Catarugan Bowman,” “Lolita” and “Bowman,” “Alma Sorrells,” “Alma
Mitchell,” and “Alma Belma Bowman.” Ex. G (Weetman Decl.) ¶¶ 23-24.

RESPONSE: Undisputed to the extent that the factual assertions in Fact 92 are contained in the
Weetman Declaration.

93. The Department located 12 responsive records, 6 of which it released in full and 6
of which it released in part. Ex. G (Weetman Decl.) ¶ 9.

RESPONSE: Disputed. Plaintiff has received no records from Defendant. Stevens Decl.¶¶87-
89.

94. On one of the documents it produced, the Department redacted material
“concerning the kinds of information it considers when investigating passport fraud” and
material the disclosure of which “would reveal how the Department maintains information in a
passport fraud investigation.” Ex. G (Weetman Decl.) ¶ 30. The redaction was appropriate under
5 U.S.C. § 552(b)(7)(E) because, even though the document is from 1977, the manner in which
the Department approaches passport fraud has not changed, and releasing the information could
lead to circumvention of the of the law by allowing passport applicants to more easily evade the
Department’s enforcement efforts. Id.; see also Response to no. 93.

RESPONSE: Undisputed to the extent that the factual assertions in Fact 94 are contained in the
Weetman Declaration. Disputed as to whether Defendant (1) has justified the withholding of the
documents; (2) failed to provide a redacted version of the documents and (3) discharged its duty
to segregate and disclose "any reasonably segregable portion of a record" that is being withheld
under a FOIA exemption, 5 U.S.C. § 552(b). See also Stevens Decl. ¶90; see also Response to
no. 93.

95. The Department redacted under exemption 7(E) the specific information that it
collected and found relevant in Alma Bowman’s passport fraud investigation, because release of
the information would shed light on what the Department considers important—and what it does
not—in its investigations and would reasonably be expected to provide a person seeking to
commit passport fraud with a roadmap for doing so. Ex. G (Weetman Decl.) ¶ 31; see also
Response to no. 93.




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RESPONSE: Disputed. Plaintiff received no production or release of records from Defendant.
Also as whether Defendant (1) has justified the withholding of the unproduced and unidentified
document(s) in their entirety; (2) failed to provide a redacted version of the documents and (3)
discharged its duty to segregate and disclose "any reasonably segregable portion of a record" that
is being withheld under a FOIA exemption, 5 U.S.C. § 552(b), are legal questions for the Court
to decide. See also Response to no. 93.

96. Overall, the Department thoroughly searched all of its locations that were
reasonably likely to contain responsive records, conducted a careful review of the records, and
ensured that any reasonably segregable, non-exempt information was disclosed and that nothing
further from the information that was withheld could be released without revealing information
protected from disclosure. Ex G. (Weetman Decl.) ¶ 32; see also Response to no. 93.

RESPONSE: Undisputed to the extent that the factual assertions in Fact 96 are contained in the
Weetman Declaration. Disputed otherwise. Whether Defendant discharged its duties under the
Act, conducted a proper search, or justified the withholdings are legal issues and the ultimate
issues to be decided by the Court on de novo review.


    PLAINTIFF’S STATEMENT OF ADDITIONAL DISPUTED AND UNDISPUTED
                               FACTS

Plaintiff submits the following additional undisputed facts and facts going to genuine factual

disputes:

   1. Ms. Schurkamp Declaration does not indicate any protocol the ICE FOIA office has in
      place to adhere to statutory deadlines for producing records responsive to requests in the
      timeframes stated in the Act. Numerous responses were produced here well beyond the
      30-day deadline for complex requests, including one, for Mr. Manuel Valdez Soto on
      January 7, 2022 (Schurkamp Decl., ¶34, DSOMF, p. 45), well over four years after
      Plaintiff submitted the request on March 15, 2017. Stevens Decl¶9.
   2. The Vaughn Index associated with the ICE Declaration uses document identification
      number of 2021-ICLI-00042 for five records. This number does not appear in Ms.
      Schurkamp’s Declaration and Plaintiff cannot match the redactions with the documents
      she received. DSOMF, pp. 70-79. Stevens Decl¶10.
   3. Ms. Schurkamp notes “ICE employees have access to email” (DSOMF, ¶12, p. 30). But
      searches for records on Nathan Anfinson (2019-ICFO-23635) and Manuel Valdez Soto
      did not reference searches of Outlook. Stevens Decl¶12.
   4. The Nathan Anfinson FOIA request specifically asked ICE to search the case
      management system PLAnet (SOMF, ICE Attachment A, DSOMF, p. 46). PLAnet is an
      ICE case management system that is reasonably likely to have records responsive to my
      request. An ICE Memorandum states that it is the database that ICE attorneys should use
      for uploading case information on individuals with claims of U.S. Citizenship. “ICE
      attomeys will save the memorandum in the PLAnet case management system and




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    document the resulting HQ decision and other information about the claim by completing
    the " USC Claims" section in PLAnet.” U.S. Citizenship Claims Memorandum, 2017
    (“USC Memo”), Ex. 2, p. 7; Stevens Decl¶18
5. Another database Schurkamp omits from the list of locations searched for records on
   individuals and that is reasonably likely to have responsive records is the General
   Counsel Electronic Management System (GEMS) “GEMS.” The USC Memo highlights
   GEMS as a location where “[r]ecords generated pursuant to this directive” are likely to be
   located. Id.; Stevens Decl¶19.
6. A third database Schurkamp omits from the list of locations searched for records on
   Anfinson that is reasonably likely to have responsive records is the National File
   Traacking System (“NFTS”). NFTS is another records location referenced in the USC
   Memo. NFTS “provides a tracking system of where the A-Files are physically located,
   including whether the file has been digitized ... NFTS records associated with an A-File
   will be retained on a permanent basis even after the A-File has been retired to NARA to
   retain accurate recordkeeping.” Especially for cases that are older, NFTS is likely to
   indicate where records are located and if they have been digitized. Stevens Decl¶20.
7. The Schurkamp Decl. provides no tracking number for the Manuel Valdez Soto request
   submitted by Plaintiff in 2017. No tracking number was assigned. Stevens Decl¶25
8. Only after Plaintiff filed this lawsuit did the agency “respond[] to a request [Plaintiff]
   had withdrawn and disregarded the request that immediately ensued. Stevens Decl¶27
   The FOIA request ICE claims is the true and complete copy of Plaintiff request for
   records of Manuel Valdez Soto was submitted at 2:46 p.m. CT on March 15, 2017 and
   withdrawn three minutes later. Stevens Decl¶28 At 2:49 p.m. CT Plaintiff forwarded the
   errant request and above it wrote, “please withdraw this request; it is sent inadvertently to
   your agency. a correct request for records from this subject will follow. I apologize for the
   confusion.” Email from Stevens to ice-foia@dhs.gov, Subject heading: “Fw: Request for
   ROP and Audio Recording for Manuel Valdez Soto #[redacted].” March 15, 2017. Four
   minutes later, she sent a new request. The new request had as its subject-heading
   “Enforcement and Removal Operations and All System Records for Manuel Valdez Soto
   #[redacted].” Stevens Decl¶28.
9. The contents of the request submitted at 2:53 p.m. and not withdrawn is quoted from in
   the Complaint: “All correspondence including but not limited to email and attachments,
   faxes, notes, and all other records associated with *communications with Citizenship and
   Immigration Services* *by the office of DHS trial attorneys* or other employees of the
   ICE Enforcement and Removal Operations about any N600 applications or any other
   correspondence with ICE HQ about Mr. Valdez's claim to US citizenship.” Complaint at
   ¶69, quoting from email from Stevens to ice-fois@dhs.gov, March 15, 2017 Ex. 1.
   Stevens Decl¶29
10. On April 14, 2017 ICE sent an email in reply to the email including the request Plaintiff
    had withdrawn. It did not include a tracking number nor state it was a final response. It
    stated it would be forwarding the withdrawn request to USCIS. Email from ICE to
    Stevens, April 14, 2017. Ex. 4. Stevens Decl¶30. Plaintiff assumed that ICE would be
    sending her a tracking number for the correct request that was not withdrawn: ICE never




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      sent her a tracking number for the proper request associated with the records of Mr.
      Valdez. Stevens Decl¶31.
   11. Plaintiff’s original request to EOIR dated July 3, 2020 included a section captioned
       “BACKGROUND” and referenced a memorandum and report produced pursuant to
       EOIR and federal courts efforts, respectively, to compile and analyze case data including
       a specific break-out of data on U.S. citizens in removal proceedings. Stevens Decl¶69
   12. Plaintiff’s request for data associated with FOIA case 2020-60006 stated, “The public
       understanding of immigration removal adjudication proceedings, as well as how the
       government responds in cases where a U.S. citizen may have been mistakenly flagged for
       immigration removal, will be greatly enhanced by knowledge of these adjournments and
       their associated cases.” Stevens Decl¶70.
   13. EOIR did not task its components, including but not limited to the Office of General
       Counsel, Office of the Chief Immigration Judge, Office of Policy or any other office
       reasonably likely to have memoranda or e-mail responsive to data on claims of U.S.
       citizenship in immigration courts, as requested by Plaintiff and provides no details as to
       why these components would not have responsive records. Stevens Decl¶72. Rather
       EOIR searched only the PASD as the component “most likely” to have responsive
      records. Stevens Decl¶73.
   14. In her Declaration, Ms. O’Hara provides a 10-page narrative about the data and codes
       produced that did not accompany the original production. However, Plaintiff and
       Plaintiff’s research assistant Grant Li do not have information sufficient to understand
       two codes: “‘ZERO BOND’ as it appears in table 80000” and "‘DD Appeal’ as it appears
       in table 80400 under column C ‘strDescription’.” Stevens Decl¶82.
   15. Plaintiff has received no “release” or “production” of records responsive to the FOIA
       request of USCIS for records on Juan Hurtado-Valencia she submitted on August 24,
       2019. Stevens Decl. ¶¶49-55.
   16. Plaintiff has received no production from the State Department pertaining to the FOIA
       request underlying this litigation. Stevens Decl¶¶87-89.
   17. Plaintiff has received no “determination” or a “release” or “production” of documents in
       response to the FOIA request of USCIS for records on Lorenzo Palma she submitted on
       11 August 2020. Stevens Decl¶¶57-67.
Dated: 1 August 2022

                                        Respectfully Submitted by
                                        __________/s/ Nicolette Glazer____________
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                        DECLARATION IN SUPPORT




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                             DECLARATION OF JACQUELINE STEVENS


I, Jacqueline Stevens, state and declare under penalty of perjury that the following is true and

correct:

1.       I am a named Plaintiff in the Complaint under the Freedom of Information Act ("FOIA").

I have been a tenured full professor in the Political Science Department at Northwestern

University (“Northwestern”) since 2010. In 2012 I became the founding Director of the

Deportation Research Clinic, Buffet Institute for Global Affairs, Northwestern University

("Clinic").

2.       I make this declaration based on personal knowledge and observations as stated herein.

Further, this Declaration contains my professional opinions on certain topic for which I have

specialized knowledge based on my education, professional experience, expertise, and research.

3.       If called to testify I could and would testify to each of the facts stated within this

Declaration.

4.       My scholarship focuses on laws and theories of membership in political societies since

antiquity, especially policies that mobilize state violence on behalf of intergenerational groups

and histories, e.g., nations. My publications in popular and academic venues frequently analyze

information about government operations. My research practice includes regular requests under

the FOIA. My findings have been featured in numerous newspaper, magazine, radio, and

television reports, including those of the New Yorker, New York Times, Washington Post
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Guardian, Columbia Journalism Review, NPR, PBS, and CNN. My monographs have been

published by Columbia University Press and Princeton University Press.

5.       My scholarly articles have appeared in highly selective venues, including the American

Political Science Review, Georgetown Immigration Law Journal, and Perspectives on Politics. I

have published in the field of public health and in 1997-1999 was a Robert Wood Johnson Health

Policy Scholar at Yale University. In 2013 I was awarded a Guggenheim Fellowship.

6.       A statement on the Clinic website states: "The Clinic conveys useful, timely, intelligent

research on misconduct in deportation proceedings to affected communities, journalists,

policymakers, and scholars ... The Clinic's research mission is rooted in public health approaches

to theorizing and addressing community-level risks and interventions."1 Public health experts

use individual-level information to help patients and to assist in community-level interventions.

Information obtained for the purpose of assisting individuals who report experiencing

government misconduct is used to provide analyses for addresssing systemic problems in the

government, including incompetence, nativism, and racism. The same webpage also quotes

from an article written by Chief Justice Louis Brandeis: "Publicity is justly commended as a

remedy for social and industrial diseases. Sunlight is said to be the best of disinfectants; electric

light the most efficient policeman."2

7.       This Declaration is made to dispute claims in the Defendant declarations in order to

support my Complaint seeking preliminary injunctive relief.




1    "Research Goals," https://deportation-research.buffett.northwestern.edu/research/index.html.
2     Chief Justice Louis Brandeis, “What Publicity Can Do,” Harper’s Weekly (December 20, 1913).
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                             Immigration and Customs Enforcement

8.       The Declaration of Lynnea Schurkamp (“Schurkamp,” “Decl. Schurkamp”) makes no

claim for any response that ICE searched all locations reasonably likely to have responsive

records.

9.       Ms. Schurkamp does not indicate any protocol the ICE FOIA office has in place to adhere

to statutory deadlines for producing records responsive to requests. Numerous responses were

produced well beyond the 30-day deadline for complex requests, including one, for Mr. Manuel

Valdez Soto on January 7, 2022 (Schurkamp Decl., ¶34, DSOMF, p. 45), well over four years

after I submitted the request on March 15, 2018. Ex. 1.

10.      The Vaughn Index associated with the Declaration uses Document Identification number

of 2021-ICLI-00042 for five records. This number does not appear in Ms. Schurkamp’s

Declaration and I cannot match the redactions with the documents I received. DSOMF, pp. 70-

79.

11.      ICE also assigns dates for received requests and appeals in a fashion that is arbitrary and

capricious, asserting datees of receipt inconsistent with digital submissions, e.g., “Your appeal,

postmarked or electronically transmitted on December 21, 2019 was received on February

04, 2019.” Letter acknowledging receipt of my appeal of 2019-ICFO-23635, emphasis in

original. Attachment D, DSOMF, p. 53.

12.      Ms. Schurkamp notes “ICE employees have access to email” (DSOMF, ¶12, p. 30). But

searches for records on Nathan Anfinson (2019-ICFO-23635) and Manuel Valdez Soto did not

reference searches of Outlook.
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                     FOIA Request 1, Nathan Anfinson 2019-ICFO-23635

13.    Ms. Schurkamp omits mention of the fact that the release to me on December 21, 2018,

for 2019-ICFO-23635 is just two pages, under the caption “EARM Case Summary.” ICE has not

supplemented that response, either following my appeal or in this litigation. Schurkamp Decl.

¶20, DSOMF, p. 33-34.

14.    My request of November 29, 2018 asked for the following:

           1) All records of all grievances filed by Mr. Anfinson orally or in writing and under
           the control of ICE or its components, including county jails or private prisons with
           which ICE has contracted.
           2) Commissary account data, including but not limited to information tracking funds
           reimbursed to Mr. Anfinson on release from custody.
           3) All correspondence, notes, and other records pertaining to assertions or findings of
           U.S. citizenship.
           4) Screen shots of all tabs for interfaces to databases consulted for responsive records,
           including but not limited toPLAnet. Attachment A to Schurkamp Decl., DSOMF, p.
           46.
15.    My request noted unlawful searches in the past and specifically requested that the agency

follow the statute and ICE regulations, stating in part:

           Please note that components that track detention facility compliance with ICE
           contracts will need to be queried.
           Please note that prior responses to similar requests have been incomplete and in
           violation of the FOIA/PA. If the final response does not include all of the records
           indicated below it is in violation of the law to represent it as a "final response." If you
           are a FOIA agent reviewing this, then I would appreciate your reviewing my request
           with your colleagues in offices tasked for documents items that are missing when they
           return to you only a few pages from EARM.
           The purpose of the FOIA is to provide to the public timely information.
16.    ICE disregarded my request and I appealed. ICE sent me a response to my appeal, stating

in part, “Upon a complete review of the administrative record, ICE has determined that new

search(s) or modifications to the existing search(s) should be made.” The letter also stated,
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“...records originating from the Denver Contract Facility must be requested directly from the

facility.” Letter from Shiraz Panthaky (“Panthaky”) to Jacqueline Stevens, 2019-ICAP-

00216/2019-ICFO-23635, February 27, 2019.

17.    The instruction from Panthaky is inconsistent with the ICE FOIA regulations and the

protocol averred to by Ms. Schurkamp:

           Based upon the requester’s description of the records being sought and ICE FOIA’s
           knowledge of the various program offices’ missions, the ICE FOIA Office identifies
           the program office(s) likely to possess responsive records and tasks the appropriate
           program office(s) to conduct the necessary searches.... In conformity withthe ICE
           FOIA Office’s instructions, the individuals and component offices are directed to
           conduct searches of their file systems, including both paper files and electronic files,
           which in their judgment, based on their knowledge of the way they routinely keep
           records, would reasonably likely be the files to contain responsive documents. Once
           those searches are completed, the individuals and component offices provide any
           potentially responsive records to their program office’s POC, who in turn, provides
           the records to the ICE FOIA Office. Schurkamp Decl. ¶¶11, 12, DSOMF, pp. 29-30.

18.    My request for information on Nathan Anfinson specifically asked ICE to search the case

management system PLAnet (SOMF, ICE Attachment A, DSOMF, p. 46). PLAnet is an ICE case

management system that is reasonably likely to have records responsive to my request. An ICE

Memorandum states that it is the database that ICE attorneys should use for uploading case

information on individuals with claims of U.S. Citizenship. “ICE attomeys will save the

memorandum in the PLAnet case management system and document the resulting HQ decision

and other information about the claim by completing the " USC Claims" section in PLAnet.”

U.S. Citizenship Claims Memorandum, 2017 (“USC Memo”), Ex. 2, p. 7.

19.    Another database Schurkamp omits from the list of locations searched for records on

individuals and that is reasonably likely to have responsive records is the General Counsel
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Electronic Management System (GEMS) “GEMS.” The USC Memo highlights GEMS as a

location where “[r]ecords generated pursuant to this directive” are likely to be located. Id.

20.     A third database Schurkamp omits from the list of locations searched for records on

Anfinson that is reasonably likely to have responsive records is the National File Traacking

System (“NFTS”). NFTS is another records location referenced in the USC Memo. NFTS

“provides a tracking system of where the A-Files are physically located, including whether the

file has been digitized ... NFTS records associated with an A-File will be retained on a permanent

basis even after the A-File has been retired to NARA to retain accurate recordkeeping.”

Especially for cases that are older, NFTS is likely to indicate where records are located and if

they have been digitized.3

21.     Ms. Schurkamp does not claim that ICE searched all locations reasonably likely to have

records on Mr. Anfinson responsive to my request.

                     ICE FOIA Request 3 Juan Guillermo Hurtado Valencia

22.     My request for information on Juan Guillermo Hurtado Valencia, specifically asks ICE to

search PLAnet. Stevens Email to ICE, August 24, 2019, DSOMF, ICE Attachment G, p. 57.

            ....I am interested in all system records pertaining to Mr. Hurtado as well as all ICE
            correspondence with other government agencies, individuals, or attorneys pertaining
            to him as well, including but not limited to correspondence with officials of US
            Citizenship and Immigration Services and the State Department. I also am
            interested in all memorandums, draft memorandums, reports, notes, email, text
            messages, and any other information maintained in any form about Mr. Hurtado.
            Please include as well : All records of grievances filed by Mr. Hurtado orally or in
            writing under the control of ICE or its components, including county jails or private


3 76 FR 34233, 6/13/2011, “Privacy Act of 1974; U.S. Citizenship and Immigration Services, Immigration and
Customs Enforcement, Customs and Border Protection-001 Alien File, Index, and National File Tracking System of
Records,” https://www.federalregister.gov/documents/2011/06/13/2011-14489/privacy-act-of-1974-us-citizenship-
and-immigration-services-immigration-and-customs-enforcement.
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           prisons with which ICE has contracted. 2) Screen shots of all tabs for interfaces to
           databases consulted for responsive records, including but not limited to PLAnet.
23.    The Schurkamp Decl. provides no explanation as to why PLAnet, GEMS, and the NFTS

-- all records systems referenced in the USC Memo -- were not searched. Ms. Schurkamp does

not claim that ICE searched all locations reasonably likely to have records on Mr. Hurtado

responsive to my request.

                      FOIA Request 3, Manuel Valdez Soto No Number

24.    The ICE record reveals substantial errors in the handling of my request for records on

Manuel Valdez Soto.

25.    First, the Schurkamp Decl. provides no tracking number for this request, and indeed I

received none in 2017, following the submission of my request.

26.    Second, ICE did not produce a single responsive document until January 7, 2022, when it

produced a one-page print out captioned “EARM Case Comments.”

27.    Third, the Schurkamp Decl. and exhibits reveal that after I sued ICE, the agency

responded to a request I had withdrawn and disregarded the request that immediately ensued.

Ms. Schurmkamp avers, “A true and complete copy of Plaintiff’s FOIA request is attached hereto

as Attachment L.” Schurkamp Decl., p. 4, Def. SOMF, p. 28. This is incorrect.

28.    The FOIA request ICE claims is the true and complete copy of my request for records of

Manuel Valdez Soto was submitted at 2:46 p.m. CT on March 15, 2017 and withdrawn three

minutes later. At 2:49 p.m. CT I forwarded the errant request and above it wrote, “please

withdraw this request; it is sent inadvertently to your agency. a correct request for records from

this subject will follow. I apologize for the confusion.” Email from Stevens to ice-foia@dhs.gov,

Subject heading: “Fw: Request for ROP and Audio Recording for Manuel Valdez Soto
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#[redacted].” March 15, 2017. Four minutes later, I sent a new request. The new request had as

its subject-heading “Enforcement and Removal Operations and All System Records for Manuel

Valdez Soto #[redacted].” Email from Jacqueline Stevens to ICE, March 15, 2017, Ex. 3.

29.     The contents of the request submitted at 2:53 p.m. and not withdrawn is quoted from in

my Complaint: “All correspondence including but not limited to email and attachments, faxes,

notes, and all other records associated with *communications with Citizenship and Immigration

Services* *by the office of DHS trial attorneys* or other employees of the ICE Enforcement and

Removal Operations about any N600 applications or any other correspondence with ICE HQ

about Mr. Valdez's claim to US citizenship.” Complaint at ¶69, quoting from email from Stevens

to ice-fois@dhs.gov, March 15, 2017 Ex. 1. This text does not appear in the request that I

withdrew.

30.    On April 14, 2017 ICE sent an email in reply to the email including the request I had

withdrawn. It did not include a tracking number nor state it was a final response. It stated it

would be forwarding the withdrawn request to USCIS. Email from ICE to Stevens, April 14,

2017. Ex. 4.

31.    I assumed that ICE would be sending me a tracking number for the correct reqeust that

was not withdrawn. ICE never sent me a tracking number for any request associated with the

records of Mr. Valdez.

32.    Ms. Schurkamp ‘s Declaration and exhibits omits mention of my e-mail withdrawing

what she falsely claims is “A true and complete copy of Plaintiff’s FOIA request” and the email

from ICE to to me on April 14, 2017. Ex. 4.
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33.    Ms. Schurmkamp states that ICE on July 14, 2020 conducted a search that produced one-

page of records on Mr. Valdez and did not produce it to me until January 7, 2022. Schurkamp

Decl., ¶¶22, SOMF, p. 36.

34.    Ms. Schurkamp does not claim that ICE searched all locations reasonably likely to have

records on Mr. Valdez responsive to my request. Schurkamp Decl., ¶¶22, SOMF, p. 36.

                            Customs and Border Protection (CBP)

                              1. Lazaro Palma CBP-2016-003607

                            2. Nathan Anfinson CBP-2019-0212307

35.    The Declaration of Patrick Howard (“Howard Decl.”) on behalf of the CBP states that

“CBP FOIA staff determined the TECS platform was the only CBP system where responsive

records could be found.” Howard Decl. ¶14, DSOMF, p. 84. Howard does not indicate who

these agents are, the databases to which TECS provides access, nor the specifics of how the

searches were performed.

36.    No one on behalf of CBP has submitted sworn statement that the agency conducted a

search of all locations reasonably likely to have records responsive to my requests of CBP.

37.    Details on how searches are performed are essential for evaluating the credibility of “no

responsive records” claims. A FOIA manual for U.S. Citizenship and Immigration Services

references the Central Indexing System, used by several agencies in the Department of

Homeland Security. The 4,200 plus manual includes several examples of false negative

outcomes based on known common errors in data entry and retrieval. Using one example of a

failed search that subsequently located the individual, the Manual states, “Why didn’t we find

him the first time?” A bullet point states: “Garbage In, Garbage Out: First and middle names are
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both entered as first Name.” Numerous other examples of inputs and searches yielding initial

false no record outputs are provided. Excerpt from USCIS Freedom of Information/Privacy Act

Processing System (FIPS) Manual, pp. 85-123, quoting p. 93, released in 2016 as FOIA COW-

2016-000509, Ex. 5.

                         US Citizenship and Immigration Services (USCIS)

38.     The Declaration of Cynthia Munita on behalf of USCIS (“Munita Decl.”) states the

agency uses a “first-in/first-out” processing protocol. Munita ¶6(b), DSOMF, p. 90. The protocol

relies for its legal authority on a 1980 Supreme Court case that predates the Freedom of

Information Act as amended (2016) (Id. ¶6, p. 91) and a 2020 order in a national class action

lawsuit in which USCIS is the defendant, including an order that provides declaratory and

injunctive relief, holding in part: “Defendants have violated the FOIA by failing to make timely

determinations on plaintiffs’ A-File FOIA requests within the mandated statutory time frames.

Defendants have engaged in a pattern or practice of violating FOIA’s statutory deadlines when

responding to requests for A-Files.” Nightingale et al. v. USCIS et al., 3:19-cv-03512-WHO,

Dkt. 83 (2020), p. 27.

39.     USCIS is exceptionally difficult to contact about bureaucratic snafus and obtain

responsive information. On information and belief, the problem is that USCIS contracts out its

FOIA operations and other public-facing calls with a private contractor, General Dynamics

Information Technology, a military contractor that prioritizes shareholder profits over public

service.4




4   Communications Workers of America, “Senators Urge General Dynamics to Address Wage Theft at Call
    Centers,”
https://cwa-union.org/news/senators-urge-general-dynamics-address-wage-theft-call-centers.
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                                        Nathan Anfinson

40.    USCIS did not provide any information on the protocols or scope of its searches for any

requests in this litigation, thus eliciting my furrowed brown when I encountered Ms. Munita’s

statement that my appeal of the search for records about Mr. Anfinson “did not appeal USCIS’

search for records.” Munita Decl. ¶18, DSOMF, p. 93.

41.    As noted in my Complaint, on September 19, 2019 I submitted a records request for

information in Mr. Anfinson’s file withheld from me on grounds of privacy for his mother Elena

Chavez, aka Jovita Rodrigues. Complaint ¶99.

42.    The Answer filed by Defendant on behalf of USCIS states in response to my quoting an

email referencing my request for records: “Deny that there was a new and separate FOIA request

that could be denied. Aside from that, defendants lack sufficient information or knowledge to

form a belief about the truth of the allegations in paragraph 99; accordingly, they are denied.”

43.    A true copy of this digital request with attached declarations waiving rights of privacy to

me signed by Nathan Anfinson and his mother Ms. Chavez is attached to my Declaration. Email

from Stevens to USCIS, September 19, 2019. Ex. 6.

44.    I submitted several emails to USCIS indicating that I provided a signed form waiving her

interests under the Privacy Act and authorizing release to me of records about Mr. Anfinson’s

mother, Elena Chavez, aka Jovita Rodriguez. Ms. Munita’s Declaration omits including my

requests and correspondence with USCIS and does not explain why I did not receive additional

responsive pages until June 3, 2022. The response below is not challenging numerous wrongful

exemptions because the portions, about a dozen pages withheld in their entirety, were released

subsequent to litigation and a separate processing of my request.
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45.       The assertion of an exemption under b(7)E for page 15 of the Anfinson release references

vague “law enforcement actions that were planned.” The nature of these alleged “actions” is not

clear nor is there any rationale for why an action taken about 20 years ago qualifies for this

exemption, nor why segregable portions were withheld. Vaughn Index, p. 2, DSOMF, p. 104.

46.       USCIS is withholding on p. 22 “results” in a database with information about Mr.

Anfinson responsive to my request. The explanation provides no specific grounds to infer that

these results on Mr. Anfinson’s deportation case are especially sensitive. Further, the reference

to a legacy “INS Tracking System” – Immigration and Naturalization Service (“INS”) was

abolished in 2003 – is further grounds to question the withholding of this information under 7(E).

Id.

47.       USCIS is withholding on p. 23 “results” in a database with information about Mr.

Anfinson responsive to my request. The explanation provides no specific grounds to infer that

these results on Mr. Anfinson’s deportation case are especially sensitive. Further, the reference

to a legacy “INS FBI Name Check” – Immigration and Naturalization Service was abolished in

2003 – is further grounds to question the withholding of this information under 7(E). Id., p. 3,

DSOMF, p. 104.

48.       USCIS is asserting withholding pp. 111-112 based on b(7)C. USCIS has in fact released

to me page 111 in its entirety. It is a hand-written statement by Mr. Anfinson’s mother. USCIS

provides no specific grounds for its withholding of page 112. Further, USCIS refers to the

document as an INS Law Enforcement Document. The fact that the INS was abolished in 2003

is further grounds to question the withholding of this information under 7(E). Id., p. 3, DSOMF,

p. 104.
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                                      Juan Hurtado-Valencia

49.      In the Answer to my Complaint, USCIS falsely denies that I submitted a privacy waiver

along with my request for records on behalf of Mr. Hurtado. Answer, ¶101. Ms. Munita’s

Declaration does not explain the basis of this assertion. Letter from USCIS to Stevens,

September 8, 2019, denying release for NRC2019603352 on grounds of missing privacy waiver,

Ex. 7.

50.      Attached to my Declaration as Exhibit 7 is a true copy of my email. The attachment of the

privacy waiver is clearly visible. Email from Stevens to USCIS, August 24, 2019. Ex. 8.

51.      USCIS and other agencies of the Department of Homeland Security routinely falsely

claim that I have not submitted privacy waivers. Sometimes they admit this immediately when I

reply on email. On other occasions the agencies simply disregard my valid request.

52.      In her Declaration, Ms. Munita states, “On June 24, 2021, in a gesture of good faith and

in an attempt to avoid further litigation, USCIS released 222 pages in full, released 64 pages in

part, and withheld 8 pages in full. The FOIA staff informed Plaintiff that the information being

withheld was exempt from release under FOIA exemptions (b)(3), (b)(6), (b)(7)(C) and/or (b)(7)

(E).” Munita Decl., ¶24, DSOMF, p. 95.

53.      The letter to which Ms. Munita refers uses the FOIA case number PPO2021000202. It

states in part, “This is in response to your Freedom of Information Act/Privacy Act (FOIA/PA)

request received in this office on May 11, 2021 regarding Juan Hurtado Valencia.” Letter from

USCIS to Stevens, June 24, 2021, Ex. 9, p. 1.

54.      The letter does not indicate the document is password protected, nor provide a password

for documents referenced. Ex. 9.
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55.    The file associated with the letter of June 24, 2021 cannot be opened because it is

password-protected and I do not have the password. Screenshot of Interface for USCIS File for

Records on Hurtado, July 31, 2022, Ex. 10.

56.    The Vaughn Index for records about Hurtado associated with Ms. Munita’s Declaration is

captioned “NRC2019603352.” Munita Decl., Vaughn Index, DSOMF, p. 109.

                                        Lorenzo Palma

57.    I submitted a request for records associated with Lorenzo Palma on August 11, 2020.

Munita Decl., ¶25, DSOMF, p. 90.

58.    According to the interface immediately after submission, the request was assigned

NRC2020120595REQ.

59.    According to Ms. Munita, the request was assigned NRC2020117509 to my USCIS

account on August 17, 2021. Munita Decl., ¶27, DSOMF, p. 96.

60.    I have no record of any USCIS case no. for this as NRC2020117509.

61.    Ms. Munita’s Declaration includes the following footnote: “Because of this request’s

procedural posture, it is also referred to as NRC2020120595REQ.” Munita Decl., Note 1 to

Lorenzo Palma, DSOMF, p. 95.

62.    According to Ms. Munita, on April 14, 2021, USCIS sent me an e-mail notifying me that

my “records were available for download.” Munita Decl., ¶28, DSOMF, p. 96.

63.    USCIS frequently sends emails with inaccurate information. For instance, in March,

2021, I wasted substantial time on an email USCIS later confirmed falsely claimed I had

responsive documents. The first email in this thread to me from USCIS arrived on February 26,
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2021 and stated: “Your USCIS FOIA/PA request has been processed and has been electronically

delivered to the myUSCIS account you created.” Email from no-reply-foia@uscis.dhs.gov to

Stevens, February 26, 2021. Ex. 11, p. 9. I forwarded the email to the USCIS FOIA office

(foiapaquestions@uscis.dhs.gov) and wrote replied, “I have no idea to what this email refers. I

ﬁle numerous FOIA requests via email. What is the case number?” Id.

64.    I received the following reply, “The documents related to this request have been digitally

released. To view the Document Library, click on the down arrow next to the gear icon. The

documents can be downloaded by selecting the arrow icon or printed using the printer icon.”

USCIS to Stevens, March 1, 2021, Ex. 11, p. 7.

65.    Several other emails then ensued. The bottom line: USCIS stated it did not in fact have

any new records available and that my responses were being sent to me via the US Postal

Service. On March 10, 2021, Sandy Kendall, Government Information Specialist for USCIS

stated in an e-mail, “I have searched our system using your name for any potential FOIA requests

that might have been registered for digital release via a FIRST account. Of the most recent

requests, all were mailed on CD. The most recent request I was able to locate in our system was

NRC2020171187 which was mailed on CD to you on February 21,2021. At this time, I am

unable to determine why you received the email or what request the email you received would be

in relation to. We apologize for any confusion but it appears all A ﬁle related FOIA requests have

been responded to with a CD mailed via the US Postal Service.” Email from Kendall to Stevens,

March 10, 2021, Ex. 11, p. 1.

66.    On April 14, 2021, I received an email from no-reply-foia@uscis.dhs.gov stating that a

record associated with my account was available. Because of the recent correspondence from
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Ms. Kendall, I assumed it was another false notification. Email from no-reply-

foia@uscis.dhs.gov to Stevens, April 14, 2021. Ex. 12

67.       The USCIS FOIA account closes out registrations if the account is not used and the

interface does not allow password reset. For instance, on July 31, 2022, when I attempted a

password reset, the first question I was asked was “In what city/town did you meet your

spouse?” Screenshot of USCIS password reset page, July 31, 2022. Ex. 13. However, I am not,

and have never been, married. I am therefore unable to access records responsive to my request

of August 11, 2020.

                        Executive Office of Immigration Review (“EOIR”)

68.       The Declaration of Shelley M. O’Hara on behalf of EOIR (“O’Hara Decl.”) states that

“With respect to ‘memoranda ... associated with the system data on these cases’, this portion of

the request is unclear and therefore, not reasonably described.” Id, ¶33.

69.       My original request of July 3, 2020 included a section captioned “BACKGROUND” and

referenced a memorandum and report produced pursuant to EOIR and federal courts efforts,

respectively, to compile and analyze case data including a specific break-out of data on U.S.

citizens in removal proceedings.

70.       My request for data associated with FOIA case 2020-60006 stated, “The public

understanding of immigration removal adjudication proceedings, as well as how the government

responds in cases where a U.S. citizen may have been mistakenly flagged for immigration

removal, will be greatly enhanced by knowledge of these adjournments and their associated

cases.”
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71.    On information and belief, EOIR possesses internal documents on the adjudication of

claims of US citizenship responsive to my request not searched for by the FOIA office.

72.    Ms. O’Hara does not indicate that anyone queried EOIR’s Office of General Counsel,

Office of the Chief Immigration Judge, Office of Policy or any other office reasonably likely to

have memoranda or e-mail responsive to data on claims of U.S. citizenship in immigration

courts, per my request [see list at SOMF, p. 150, ¶7].

73.    Ms. O’Hara states she only requested information from the Planning, Analysis, and

Statistics Division (PASD). She states that the PASD was the “record custodian most likely to

have responsive records.” SOMF, p. 156, ¶22.

74.    At no point does Ms. O’Hara aver that the PASD was other offices were not reasonably

likely to have responsive records.

75.    Ms. O’Hara states that it would be “unduly burdensome” to task anyone in dozens of

immigration courts accessing the CASE database to produce their memoranda or e-mail

associated with claims of U.S. citizenship, but she does not claim it would be burdensome to task

such a search to high-level agency officials reasonably likely to have these responsive records.

76.    My request was for “all system records pertaining to immigration proceedings with

adjournments referencing claims of U.S. citizenship, i.e., code 54...” O’Hara Decl. ¶21, SOMF,

pp. 156, and see EOIR, Ex. D., DSOMF, p. 173. My second request sas for “All system records

pertaining to all cases terminated at any hearing...” Id.

77.    Ms. O’Hara claims that “‘immigration court data’ cannot possibly refer to appeals data as

an Immigration Court is entirely separate from the Board of Immigration Appeals [BIA]...”

O’Hara Decl., ¶36, DSOMF, p. 163.
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78.       Ms. O’Hara’s description of EOIR’s case management contradicts this analysis. She

states: “Case Access System for EOIR (CASE) is an electronic case manager for the Immigration

Judges, the Board of Immigration Appeals, and staff to support case management. CASE is

designed to manage all aspects of a Respondent’s case, including: dispositions, Respondent

information, attorney representation, as well as a history of rulings on a case.” O’Hara Decl.,

¶15, SOF, pp. 153-54.

79.       Ms. O’Hara does not dispute that BIA rulings, remands, and adjudications responsive to

these remands are part of the system records “pertaining to immigration proceedings.”

80.       In an e-mail with a subject-heading “18 years” sent to a listserve of which I am a member,

an experienced immigration attorney and Editor-in-Chief of the Bender’s Immigration Bulletin,

Daniel Kowalski stated:

             18 years ago today, July 21, 2004, ICE put my USC (native-born) client into (non-
             detained) removal proceedings. We are now at the BIA for the 4th time. At the IJ
             level, I won the ﬁrst two rounds, lost the third, and won the last round...the IJ ordered
             termination with prejudice...again. ICE appealed, again. Really gettng tired of this
             nonsense. There is a structural ﬂaw in the INA if the BIA can evade judicial review by
             remanding the case back down to the IJ, over and over again, forever. And as for
             timing on the last round, the BIA brieﬁng closed in April 2021, well over a year ago.
             (Email from Daniel Kowalski to listserves of immigration law professors and clinics,
             July 21, 2022, Ex. 14.)
81.       Data on remands responsive to my request are of great importance to Congress and the

courts.

82.       In her Declaration, Ms. O’Hara provides a 10-page narrative about the data and codes

produced that did not accompany the original production. However, my research assistant Grant

Lee and I still do not have information sufficient to understand two codes: “‘ZERO BOND’ as it

appears in table 80000” and "‘DD Appeal’ as it appears in table 80400 under column C

‘strDescription’.” Declaration of Grant Li, July 29, 2022, ¶¶11-12, Ex. 14.
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                                   Department of Agriculture

83.    In the 1940s, the Department of Agriculture issued reports and bulletins on immigrant

labor, including from the Bracero program, according to Erasmo Gamboa, Mexican Labor and

World War II (University of Washington Press, 2003). Screenshots of index and reference to

Department of Agriculture reports on Mexican immigrant agriculture workers, Ex. 15.

84.    On information and belief, Mr. Lazaro Palma was among those whom would have been

studied by this office of the Department of Agriculture.

85.    The Declaration does not acknowledge the agency efforts to recruit and document

Mexican immigrant farm workers during World War Two and inaccurately suggests this did not

occur. Decl. of Alexis Graves, ¶7, DSOMF, p. 220.

86.    The Declaration does not consider offices where the agency maintains records from

World War Two on the Bracero worker participation or immigration workforce participation in

U.S. agriculture.

                                      Department of State

87.    I have received no records from the Department of State responsive to my request.

88.    The Declaration of Susan Weetman “Weetman Decl.”) references “Attachment 5” as a

communication to me that the agency had found additional responsive records and were

releasing six in part and six in full. Weetman Decl., ¶9, DSOMF, p. 229. However, there is no

Attachment 5 to the Weetman Decl.
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89.    A search of my e-mail from state.gov associated with my request for records on Alma

Bowman shows nothing after after April 19, 2021. Email search, jacqueline-

stevens@northwestern.edu, Outlook, Ex. 16.

90.    The claim that there is a document from 1977 associated with a passport fraud

investigation about Alma Bowman Weetman Decl., (¶¶30-31) is materially relevant to her claim

of U.S. citizenship and knowledge of U.S. policies affecting citizenship more broadly. At the

time of the alleged fraud investigation, Ms. Bowman was 10 years old and the U.S. government

had a discriminatory policy of discouraging U.S. citizenship claims of children born to women

married to U.S. soldiers, as was the case for Alma.




  The above is true and correct to the best of my knowledge and recollections.
Dated: August 1, 2022




                                     ________________________________


                                     JACQUELINE STEVENS
                                     601 University Place
                                     Second Floor, Political Science Department
                                     Evanston, Illinois 60208
                                     (847) 467-2093
                                     jacqueline-stevens@northwestern.edu
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                        EXHIBIT 1
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Enforcement and Removal Operations and All System Records for
Manuel Valdez Soto #036-661-0224
Jacqueline Stevens <jacqueline-stevens@northwestern.edu>
Wed 3/15/2017 2:53 PM
To: ice-foia@dhs.gov <ice-foia@dhs.gov>
To Whom It May Concern,

This letter constitutes a request under the Freedom of Information Act
(“FOIA”), 5 U.S.C. § 552, for all system records pertaining to Manuel Valdez Soto who
appears to be a U.S. citizen. He was born on October 12, 1967.

Please note that in addition to the system records I am also requesting
all correspondence including but not limited to email and attachments,
faxes, notes, and all other records associated with *communications with
Citizenship and Immigration Services* *by the oﬃce of DHS trial
attorneys* or other employees of the ICE Enforcement and Removal
Operations about any N600 applications or any other correspondence with
ICE HQ about Mr. Valdez's claim to US citizenship.

I also am requesting:

1) All email and associated attachments sent to and from the ICE US
Citizenship Drop Box email address at ICE Headquarters pertaining to Mr. Valdez's
assertion of US citizenship.

2) Mr. Valdez's records of purchases at the commissary.

3) Records of Mr. Valdez's work details, evaluations, and payment.

4) All ERO and predecessor component orders, requests, e-mail and all
other system records associated with Mr. Valdez's custody in Texas state
jails or prisons awaiting these facilities were told to hold him pending
his transfer into ICE custody.

I am requesting an expedited response to this request. Please note that
the Houston immigration courts have on several occasions detained U.S.
citizens and that ICE custody of US citizens is of great interest to the
public, as evidenced in extensive national media coverage of these
events, many ﬁrst reported on my blog "States Without Nations." For
recent national coverage of another U.S. citizen held at CCA, please
see:
http://www.npr.org/sections/thetwo-way/2016/12/22/504031635/you-say-you-re-an-
american-but-what-if-you-had-to-prove-it-or-be-deported
 My research on this topic has been reported in The New Yorker, The New
York Times, NPR and numerous other national and local media outlets.

 Any delay in a response to this request defeats the ability of the
public to hold ICE accountable in real time and allows repeated excuses
that a problem is ﬁxed when it demonstrably persists. I believe that
Mr. Momo's personal plight at the moment and the public's demonstrated
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interest in ICE custody of U.S. citizens warrants an expedited response.

As I will be using this information for my research, teaching, and
journalism, and will receive no ﬁnancial compensation I am requesting a
fee waiver.

I am attaching Mr. Valdez's privacy waiver authorizing release of this
information to me under the Freedom of Information/Privacy Act. Please
note that this also includes his certiﬁcation of his identity.

Many thanks for your assistance with this request. If you have any
questions, please feel free to contact me here or by
phone at 847-467-2093.

Sincerely,
--
Jacqueline Stevens
Professor
Political Science and Legal Studies Board
Northwestern University

Director
Deportation Research Clinic
Buﬀett Center for International and Comparative Studies
http://www.cics.northwestern.edu/programs/deportationresearch/

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http://stateswithoutnations.blogspot.com
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                        EXHIBIT 2
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                    U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT



16001.2 :         lnvestigating the Potential U.S. Citizenship of
                  lndividuals Encountered by ICE
                  Issue Date:      November 1O, 2015
                  Effective Date:  November 10,2015
                  Superseded :     ICE Policy No. 16001 .1: Superseding Guidance on Reporting
                                   and lnvestigating Claims to United States Citizenship (Nov. 19,
                                   2009).
                  Federal Enterprise Architecture Number: 306- 11 2-002b

l.       Purpose!Background. This Directive establishe s ICE policy and procedures for
         ensuring that the potential U.S. citizenship of indi vid uals encountered by U.S.
         lmrni gration and Customs Enforcement (ICE) officers, agents, and attomeys is
         immediately and carefully investigated and analyzed. The Imrnigration and Nationality
         Act of 1952, as amended (INA), sets forth the parameters for U.S. citizenship by virtue of
         birth in the United States. Additionall y, the INA and various re lated statutes codify
         nurnerous avenues by which an individual may derive, acquire, or otherwise obtain U.S.
         citizenship other than through birth in the United States. As a matter of law, ICE cannot
         assert its civil immigration enforcement authority to arrest and/or detain a U .S. citizen.
         While performing their civil immigration enforcement duti es, ICE officers, agents, and
         attomeys may encounter individuals who are not certain of their citizenship status, who
         claim to be U.S. citizens, and/or for whom there are indicia warranting further
         examination to de termine whether they may be U.S. citizens.

2.       Policy. It is ICE policy to carefully and expeditiously investigate and analyze the
         po tential U.S. citi zenship of individuals encountered by ICE. ICE officers, agents, and
         attomeys should handle these matters with the utmost care and highest priority,
         recogni z ing that, while sorne cases may be easily reso lved, many may require additional
         in vestigation and substantiallegal analysis, particularly in light ofthe complexity of U.S.
         citizenship and nationality law.

         ICE personnel must assess the potential U.S. citizenship of an indi vidual encountered by
         ICE ifthe individual makes or has made a claim to U.S. citi zenship, as well as when
         certai n indicia of potential U.S. citizenship, as identified in thi s Directive, are present in a
         case even ifthe ind ividual does not affirmatively make a claim to U.S. citizenship. In all
         si tuations where an individual' s potential U.S. citizenship requires further investigation,
         Enforcement and Removal Operations (ERO) and Homeland Sec urity Investigations
         (HSI) personnel must cons ult with the Office ofthe Principal Legal Advisor's (OPLA)
         local Office of the ChiefCounsel (OCC), as prescribed in thi s Directive.




Jnvestigating the Potential U.S. Citizensh ip of lndividuals Eocountered by ICE
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                                                       2


3.       Definitions. The following defmitions apply for purposes ofthis Directive only.

3.1.     Indicia of Potential U.S. Citizenship. Circumstances tbat tend to indicate that an
         individual rnay be a U.S. citizen. Indicia are not conclusive evidence that tbe individual is
         a U.S. citizen but factors that trigger the need for further investigation. With respect to
         individuals encountered by ICE, the existence of any of the following factors should lead
         to further investigation ofthe individual's U.S. citizenship:

         1)


         2)



         3)




         4)


         5)


         6)


        7)

        8)


        9)


         1O)




lnvesti gating the Potential U.S. Citizensbip of lndividuals Enco untered by ICE
     Case: 1:21-cv-02232 Document #: 37 Filed: 08/01/22 Page 54 of 105 PageID #:489
                                                          3


3.2      Individual Encountered by ICE. An individual who is:

         1) Arrested and taken into ICE custody pursuant to the agency's civil immigration
            authorities, including those released from such custody pending a decision on
            remo val or execution of a removal order;

         2) Subject to, or may become subject to, a request made by ICE that another law
            enforcement agency continue to hold the individual for up to 48 hours following the
            completion ofhis or her criminal custody, i.e., an " immigration detainer;" 1 ancllor

         3) In proceedings before the Executive Office for lmmigration Review (EOIR) or
            administrative removal proceedings before ICE, including but not limited to pursuant
            to sections 2 17, 235, 238(b), or 241(a)(5) ofthe INA.

3.2.     Probative Evidence of U.S. Citizenship. A unique policy standard adopted by ICE
         meaning that the evidence before the agency tends to show that the individual may, in
         fact, be a U.S. citizen. U.S. citizenship need not be shown by a preponderance ofthe
         evidence for the agency to find that there is sorne probative evidence ofU.S. citizenship.

4.       Responsibilities.

4.1.     ERO Officers, HSI Agents, and OCC Attorneys have responsibilities under Section
         5.1 of this Oirective.

4.2.     ERO Field Office Directors (FODs), HSI Special Ageots in C harge (SACs), and
         OPLA Chief Counsels are responsible for providing appropriate supervisory oversight to
         ensure officers, agents and attomeys in their respective offices comply with the policy
         (see section 2) and procedures (see section 5) prescribed in this Oirective.

4.3.     FODs are responsible for ensuring that all state and local officers with delegated
         imrnigration authority pursuant to INA § 287(g) within their area of responsibility have
         the training and oversight necessary to understand and adhere to this Directive, and
         thoroughly investigate all U.S. citizenship claims made by individuals encountered by
         287(g)-designated officers.

4.4.     Headquarters (HQ) OPLA, ERO, and HSI have responsi bilities under section 5.1(3).
         (Headquarters Review).

4.5.     The Executive Associate Directors for ERO and HSI, and the Principal Legal
         Advisor , or their designees, are responsible for providing appropriate supervisory
         oversight to ensure officers, agents and attomeys in thei r respective offices comply with
         the policy (see section 2) and procedures (see section 5) ofthis Directive.

1 This includes individ uals subject to the former Form l-247 (Immigration Detainer - Notice of Action), Form
I-2470 (lmmigration Detainer - Request for Voluntary Action), Fonn J-247X (Request for Voluntary Transfer)
when th is form requests detention rather than simply notification, and/or any successor form serving the same or
substantially similar process.


Investigating the Potential U.S. Citizenship of lndividuals Encountered by ICE
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                                                       4



5.       Procedures!Requirements. An ICE officer, agent or attomey must assess the potential
         U.S. citizenship ofan individual encountered by ICE ifthe individual makes or has made
         a claim to U.S. citizenship or, even in the absence of such a claim, when indicia of
         potential U.S. citizenship are present in a case. Tbe ICE Directorate that first encounters
         the individual is generally responsible for identifying indicia ofpotential U.S. citizenship.

5.1.     Procedures for lnvestigating and Assessing Potential U.S. Citizenship.

         1) Factual Examination. Tbe assessment of potential U.S. citizenship under this
            Directive must include a factual examination and a legal analysis and shall include a
            check of al l available DHS data systems and any other reasonable means available to
            the officer. In general, the factual examination should be conducted by the ICE
            operational Directorate (ERO or HSI) that fust encountered the individual. In cases
            where the OCC first encounters the individual, ERO should generally conduct the
            factual examination in coordination with the OCC.

             a)




             b)                                                                                     f




            e)



            d)




            e)




Jnvestigating tbe Potential U.S. Citizensbip of lndividua ls Encountered by ICE
   Case: 1:21-cv-02232 Document #: 37 Filed: 08/01/22 Page 56 of 105 PageID #:491
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             f)



             g)




        2) Preparing and Submitting Memorandum. After the factual examination is
           cornpleted, ERO or HSI (whichever conducted the factual examination) and the
           relevant OCC must jointly prepare and submit a memorandum for HQ review, using
           as a guide the attached HQ-approved template, which assesses the claim and
           recommends a course of action.

            a) Absent extraordinary circumstances, this memorandum must be submitted no
               more than one business day from the time ERO, HSI, or OPLA first becomes
               aware ofa claim or indicia ofpotential U.S. citizenship ifthe individual is subject
               to an immigration detainer or is detained in ICE custody. In all other cases, the
               memorandum must be submitted as promptly as practicable.

            b) For purposes of sucb memoranda, the legal analysis must indicate whether, in the
               OCC' s view:

                  1) The evidence in the case strongly suggests that the individual is a U.S. citizen
                     or his or her claim to U.S. citizenship is credible on its face;

                  2) Sorne probative evidence indicates that the individual may be a U.S. citizen
                     but the evidence is inconclusive; or

                  3) No probative evidence indicates that the individual is a U.S. citizen.

            e) The memorandum must be clearly annotated as containing pre-decisional,
               privileged attomey-client cornmunication, attomey work product, and sensitive
               personally identifiable infonnation.

            d) U pon completion, the memorandum must be elevated via e-mail to the HQ OPLA
               Immigration Law and Practice Division at                                 and
               either the HQ ERO Assistant Director for Field Operations at
                                                  orto the HQ HSI Domestic Operations Manager
               assigned responsibility for the relevant SAC office, as appropriate.

            e) Any significant cbange in circumstances in a case elevated to HQ should be
               reported in the same manner as outlined in the preceding subparagraph, as well as



Iovestigating the Potential U.S. Citizeoship of Iodividuals Eocouotered by ICE
   Case: 1:21-cv-02232 Document #: 37 Filed: 08/01/22 Page 57 of 105 PageID #:492
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                 to any previously assigned HQ points of contact, as an update to the original
                 memorandum.

        3) Headquarters (HQ) Review.

             a) HQ OPLA and either HQ ERO or HQ HSI will respond to the field with a
                decision on the recommendation within one business day of receipt ofthe
                memorandum by detained claimants and indi viduals subject toan immigration
                detainer. In all other cases a decision will be made as promptly as practicable.

        4) Detaioer/Custody Determinatioo.

            a) In those cases involving individuals who fall within section 5.1(2)(b)(l) or
               5. 1(2)(b)(2) ofthis Directive (cases involving strong/facially credible or probative
               evidence ofU.S. citizenship):

                 1) ICE should not lodge an immigration detainer against or arrest the individual.

                 2) lf ICE has aiready lodged an immigration detainer against the individual, it
                    shouJd be immediately cancelled.

                 3) Ifthe individual is already in ICE custody, he or she should be immediately
                    released.

                 4) lf the individual has been released from ICE custody on conditions, those
                    conditions should be re-evaluated in consuJtation with OPLA.

            b) Where the field's initial recommendation to HQ is that an individual falls within
               section 5.1(2)(b)(l) or 5.1(2)(b)(2) ofthis Directive, it is not necessary to await
               HQ concurrence befare cancelling an immigration detainer, releasing the
               individual from custody, or terminating conditions ofrelease.

            e) On a case-by-case basis and in consultation with OPLA, an individual determined
               by ICE to fall within section 5.1(2)(b)(l) or 5.1(2)(b)(2) ofthis Directive may be
               placed in removal proceedings on EOIR' s non-detained docket to more
               conclusively resolve his or her immigration and citizenship status ifreasons
               remain to believe that he or she is an alíen present in the United States in violation
               oflaw.

            d) Where no probative evidence ofU.S. citizenship exists (section 5.1(2)(b)(3) of
               this Directive) and probable cause exists that the individual is a removable alien,
               it is permissible to lodge an immigration detainer in the case, arrest the individual,
               and/or process the individual for removal.

            e) In any case in whicb there is uncertainty about whether the evidence is probative
               of U.S. citizenship, ICE sbould not detain, arrest, or lodge an immigration



Investigating tbc Potcntial U.S. Citizensbip of Individuals Encountcred by ICE
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                 detainer against the individual and should cancel any immigration detainer
                 already lodged by ICE.

             f) Where ICE determines that it will not proceed further with an enforcement action
                dueto the U.S. citizenship claim, the individual should be inforrned that he or she
                may attempt to obtain proof of U.S. citizenship by submitting a passport
                application to the Department ofState (http ://travel.state.gov/passport) or filing an
                Application for Certificate of Citizenship, Forrn N-600, with U.S. Cítizenship and
                Imrnigration Services ( www.uscis.gov/n-600).

         5) Case Maoagemeot.

            a) ICE officers and agents will make a notation in the appropriate database(s) (e.g.,
               ENFORCE Alíen Booking Module and/or Alíen Removal Module), and place a
               copy ofthe memorandum and resulting decision, properly marked as containing
               attomey work product, attorney-clíent communication, and sensitive personally
               identifiable information in the individual 's A-file, if one already exists.

             b) ICE attomeys will save the memorandum in the PLAnet case management system
                and document the resulting HQ decision and other information about the claim by
                completing the " USC Claims" section in PLAnet.

6.      Recordkeepiog. Records generated pursuant to this directive are maintained in the Alíen
        File, Index, and National File Tracking System ofRecords, 76 Fed. Reg. 34233 (June 13,
        2011), the General Counsel Electronic Management System (GEMS), 74 Fed. Reg.
        41914 (August 19, 2009), the Imrnigration and Enforcement Operational Records
        (ENFORCE), 75 Fed. Reg. 23274 (May 3, 2010), and any other applicable system. The
        memorandum and resulting HQ decision will be also be saved in PLAnet.

7.      Authorities!Refereoces.

7.1.    Immigration and Nationality Act (INA) § 101(b) and (e).

7.2.    INA §§ 301 - 303.

7.3.    INA §§ 306 - 309.

7.4.    INA § 316.

7.5.    INA §§ 319 - 320.

7.6.    INA § 322.

7.7.    INA §§ 328- 329.




Iovestigating the Poteotial U.S. Citizenship of lodividuals Encountered by ICE
       Case: 1:21-cv-02232 Document #: 37 Filed: 08/01/22 Page 59 of 105 PageID #:494
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    7.8.   Section 303 ofthe Covenant to Establish a Commonwealth ofthe Northern Mariana
           Islands in Political Union with the United States of America, Pub. L. No. 94-241, 90 Stat.
           263,266 (set out as a note to 48 U.S.C. § 1801).

8.         Attachments.

8.1.       Sample ­ USC Claims Memorandum Template. 2

9.         No Private Right. Tllls document provides only intemal ICE policy guidance, which may
           be modified, rescinded, or superseded at any time without notice. It is not intended to, does
           not, and may not be relied upon to create or diminish any rights, substantive or procedural,
           enforceable at law or equity by any party in any criminal, civil, or administrative matter.
           Likewise, no limitations are placed by this guidance on the otherwise Iawful enforcement or
           litigative prerogatives ofthe Department ofHomeland Security.




Director
U.S. Immigr ation and Customs Enforcement




2
 This template may be periodically updated by OPLA, as new legal and policy developments warraot. ln such
circumstances, OPLA will work with tbe Office of Policy to have the updated template posted to the ICE Policy
Manual online eovironment.



Jnvestigating the Potential U.S. Citizenshi p of lndividua ls Encou nter ed by ICE
Case: 1:21-cv-02232 Document #: 37 Filed: 08/01/22 Page 60 of 105 PageID #:495




                        EXHIBIT 3
    Case: 1:21-cv-02232 Document #: 37 Filed: 08/01/22 Page 61 of 105 PageID #:496


Fw: Request for ROP and Audio Recording for Manuel Valdez Soto
#036-661-024
Jacqueline Stevens <jacqueline-stevens@northwestern.edu>
Wed 3/15/2017 2:49 PM
To: ice-foia@dhs.gov <ice-foia@dhs.gov>

  1 attachments (47 KB)
Valdez-Sota-PrivacyWaiver.pdf;


please withdraw this request; it is sent inadvertently to your agency. a correct request
for records from this subject will follow. I apologize for the confusion.
Jackie Steves

Professor
Political Science and Legal Studies
Northwestern University

Director
Deportation Research Clinic
Buﬀett Institute
http://buﬀett.northwestern.edu/programs/deportationresearch/


oﬃce phone: 847-467-2093

mail
601 University Place
Political Science Department
Evanston, IL 60208

http://jacquelinestevens.org
http://stateswithoutnations.blogspot.com



________________________________________
From: Jacqueline Stevens
Sent: Wednesday, March 15, 2017 3:46 PM
To: ice-foia@dhs.gov
Subject: Request for ROP and Audio Recording for Manuel Valdez Soto #036-661-024

To Whom It May Concern,

This letter constitutes a request under the Freedom of Information Act
(“FOIA”), 5 U.S.C. § 552, for all system records pertaining to Manuel Valdez Soto. His
alien number is 036-661-024. He was born in Mexico on October 12, 1967.

This request includes but is not limited to all memoranda, notes,
reports, email messages and all other system records or communications
associated with or pertaining to Mr. Valdez generated or received by EOIR.
    Case: 1:21-cv-02232 Document #: 37 Filed: 08/01/22 Page 62 of 105 PageID #:497

This also includes the record of proceedings for his immigration
hearing(s), as well as any digital or audio recordings of his hearing(s).

And I am requesting all docketing information for Mr. Valez's hearings
maintained in the EOIR case locator system.

Mr. Valdez has signed a waiver, including a certiﬁcate of identity,
allowing me to receive these records. Please ﬁnd a copy of this waiver
attached.

As a scholar, blogger and a writer on immigration law enforcement, I am
entitled to a waiver of duplication fees because disclosure of this
information is in the public interest within the meaning of 5 U.S.C. §
552(a)(4)(A)(iii). The disclosure of this information is “likely to
contribute signiﬁcantly to public understanding of the operations or
activities of the government” and is “not primarily in the commercial
interest of the requester.”

My research encompasses instances of immigration misconduct by the U.S.
government. My publications have news and educational value and are not
for commercial gain. I recently co-edited the volume *Citizenship In
Question: Evidentiary Birthright and Statelessness* (Duke University Press).

I am requesting this response be expedited. These are regular system
records and will not pose any burdens on the EOIR to produce. Especially
relevant, there is immense public interest in the matter of the wrongful
detention and deportation of U.S. citizens, to wit a letter by Assistant
Secretary John Morton on this topic responsive to an article based on my
research "The Deportation Machine," The New Yorker (April 29, 2013).
Please note as well recent NPR coverage of someone who recently proved
his U.S. citizenship after being detained through the same processes aﬀecting Mr.
Valdez, the subject of this request.
http://www.npr.org/sections/thetwo-way/2016/12/22/504031635/you-say-you-re-an-
american-but-what-if-you-had-to-prove-it-or-be-deported
 It is clearly of great importance to the proper functioning of a
democracy that Congress and the public obtain real-time information on
deportation proceedings involving U.S. citizens. The pending
Comprehensive Immigration Reform legislation further underscores the
need to expedite release of Mr. Valdez's EOIR ﬁle.

If you have any questions, I may be reached by email at
jacqueline-stevens@northwestern.edu or by phone at 847-467-2093.

Please send the requested records to this email address or by regular
mail to:

Jacqueline Stevens, Department of Political Science, 601 University
Place, Northwestern University, Evanston, IL 60208.

Thank you very much for your assistance in this matter.

--
Jacqueline Stevens
    Case: 1:21-cv-02232 Document #: 37 Filed: 08/01/22 Page 63 of 105 PageID #:498

Professor
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fax 847-491-8985

Mail
601 University Place
Department of Political Science
Northwestern University
Evanston, IL 60208

http://www.jacquelinestevens.org
http://stateswithoutnations.blogspot.com
Case: 1:21-cv-02232 Document #: 37 Filed: 08/01/22 Page 64 of 105 PageID #:499




                        EXHIBIT 4
    Case: 1:21-cv-02232 Document #: 37 Filed: 08/01/22 Page 65 of 105 PageID #:500


RE: Request for ROP and Audio Recording for Manuel Valdez Soto
#036-661-024
ICE-FOIA <ICE-FOIA@ice.dhs.gov>
Fri 4/14/2017 9:20 AM
To: Jacqueline Stevens <jacqueline-stevens@northwestern.edu>
Good morning,

You have directed a FOIA request to U.S. Immigration and Customs Enforcement (ICE)
seeking either (1) copies of an individual's alien ﬁle, or (2) copies of certain documents
or other information that is maintained in an individual's alien ﬁle. "Alien ﬁles" are
maintained by U.S. Citizenship and Immigration Services (USCIS). Accordingly, ICE is
routing your FOIA request to USCIS. Upon receipt of your FOIA request, USCIS will
provide you with a tracking number and respond directly to your request.

If you have any questions regarding your request, please contact USCIS at the address
below:

U.S. Citizenship and Immigration Services
National Records Center, FOIA/PA Oﬃce
P.O. Box 648010
Lee's Summit, MO 64064-8010
Phone: (800) 375-5283
Fax: (816) 350-5785
Email: USCIS.FOIA@uscis.dhs.gov

Sincerely,

ICE FOIA Oﬃce
Immigration and Customs Enforcement
Freedom of Information Act Oﬃce
500 12th Street, S.W., Stop 5009
Washington, D.C. 20536-5009
Telephone: 1-866-633-1182

-----Original Message-----
From: Jacqueline Stevens [mailto:jacqueline-stevens@northwestern.edu]
Sent: Wednesday, March 15, 2017 3:47 PM
To: ice-foia@dhs.gov
Subject: Request for ROP and Audio Recording for Manuel Valdez Soto #036-661-024



To Whom It May Concern,

This letter constitutes a request under the Freedom of Information Act ("FOIA"), 5 U.S.C.
§ 552, for all system records pertaining to Manuel Valdez Soto. His alien number is
036-661-024. He was born in Mexico on October 12, 1967.

This request includes but is not limited to all memoranda, notes, reports, email
messages and all other system records or communications associated with or pertaining
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to Mr. Valdez generated or received by EOIR.
This also includes the record of proceedings for his immigration hearing(s), as well as
any digital or audio recordings of his hearing(s).

And I am requesting all docketing information for Mr. Valez's hearings maintained in the
EOIR case locator system.

Mr. Valdez has signed a waiver, including a certiﬁcate of identity, allowing me to receive
these records. Please ﬁnd a copy of this waiver attached.

As a scholar, blogger and a writer on immigration law enforcement, I am entitled to a
waiver of duplication fees because disclosure of this information is in the public interest
within the meaning of 5 U.S.C. § 552(a)(4)(A)(iii). The disclosure of this information is
"likely to contribute signiﬁcantly to public understanding of the operations or activities of
the government" and is "not primarily in the commercial interest of the requester."

My research encompasses instances of immigration misconduct by the U.S.
government. My publications have news and educational value and are not for
commercial gain. I recently co-edited the volume *Citizenship In
Question: Evidentiary Birthright and Statelessness* (Duke University Press).

I am requesting this response be expedited. These are regular system records and will
not pose any burdens on the EOIR to produce. Especially relevant, there is immense
public interest in the matter of the wrongful detention and deportation of U.S. citizens, to
wit a letter by Assistant Secretary John Morton on this topic responsive to an article
based on my research "The Deportation Machine," The New Yorker (April 29, 2013).
Please note as well recent NPR coverage of someone who recently proved his U.S.
citizenship after being detained through the same processes aﬀecting Mr. Valdez, the
subject of this request.
https://urldefense.proofpoint.com/v2/url?u=http-3A__www.npr.org_sections_thetwo-
2Dway_2016_12_22_504031635_you-2Dsay-2Dyou-2Dre-2Dan-2Damerican-2Dbut-
2Dwhat-2Dif-2Dyou-2Dhad-2Dto-2Dprove-2Dit-2Dor-2Dbe-2Ddeported&d=DwIFAw&
c=yHlS04HhBraes5BQ9ueu5zKhE7rtNXt_d012z2PA6ws&
r=CSkbcwI7yUmpQCSc0XdWKHK7fI-OiXR4mtr3VjWPrx8q0pO4CB7B_W2lAXinwcVk&
m=LNL1w0zLTj_P085CPWXWAGQ3HPXZ8cb8kkfvWxsdXso&
s=yBglzGAdJgCjHI65EbzZds6Cusjb9mID_1vYnTlFFrA&e=
 It is clearly of great importance to the proper functioning of a democracy that Congress
and the public obtain real-time information on deportation proceedings involving U.S.
citizens. The pending Comprehensive Immigration Reform legislation further underscores
the need to expedite release of Mr. Valdez's EOIR ﬁle.

If you have any questions, I may be reached by email at jacqueline-
stevens@northwestern.edu or by phone at 847-467-2093.

Please send the requested records to this email address or by regular mail to:

Jacqueline Stevens, Department of Political Science, 601 University Place, Northwestern
University, Evanston, IL 60208.

Thank you very much for your assistance in this matter.

--
Jacqueline Stevens
    Case: 1:21-cv-02232 Document #: 37 Filed: 08/01/22 Page 67 of 105 PageID #:502

Professor
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phone 847-467-2093
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d=DwIFAw&c=yHlS04HhBraes5BQ9ueu5zKhE7rtNXt_d012z2PA6ws&
r=CSkbcwI7yUmpQCSc0XdWKHK7fI-OiXR4mtr3VjWPrx8q0pO4CB7B_W2lAXinwcVk&
m=LNL1w0zLTj_P085CPWXWAGQ3HPXZ8cb8kkfvWxsdXso&
s=6lQaojrvNv5AMB3af44oY9VrhHV743R0kYCwB5HmDl0&e=
https://urldefense.proofpoint.com/v2/url?u=http-
3A__stateswithoutnations.blogspot.com&d=DwIFAw&
c=yHlS04HhBraes5BQ9ueu5zKhE7rtNXt_d012z2PA6ws&
r=CSkbcwI7yUmpQCSc0XdWKHK7fI-OiXR4mtr3VjWPrx8q0pO4CB7B_W2lAXinwcVk&
m=LNL1w0zLTj_P085CPWXWAGQ3HPXZ8cb8kkfvWxsdXso&
s=jNvPj2rxeoxBtuiKN9GE9zBxclDQTFgy0r1x8w1cn74&e=
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                        EXHIBIT 5
    Case: 1:21-cv-02232 Document #: 37 Filed: 08/01/22 Page 69 of 105 PageID #:504


RE: Request for ROP and Audio Recording for Manuel Valdez Soto
#036-661-024

ICE-FOIA <ICE-FOIA@ice.dhs.gov>
Fri 4/14/2017 9:20 AM
To: Jacqueline Stevens <jacqueline-stevens@northwestern.edu>
Good morning,

You have directed a FOIA request to U.S. Immigration and Customs Enforcement (ICE)
seeking either (1) copies of an individual's alien ﬁle, or (2) copies of certain documents
or other information that is maintained in an individual's alien ﬁle. "Alien ﬁles" are
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U.S. Citizenship and Immigration Services
National Records Center, FOIA/PA Oﬃce
P.O. Box 648010
Lee's Summit, MO 64064-8010
Phone: (800) 375-5283
Fax: (816) 350-5785
Email: USCIS.FOIA@uscis.dhs.gov

Sincerely,

ICE FOIA Oﬃce
Immigration and Customs Enforcement
Freedom of Information Act Oﬃce
500 12th Street, S.W., Stop 5009
Washington, D.C. 20536-5009
Telephone: 1-866-633-1182

-----Original Message-----
From: Jacqueline Stevens [mailto:jacqueline-stevens@northwestern.edu]
Sent: Wednesday, March 15, 2017 3:47 PM
To: ice-foia@dhs.gov
Subject: Request for ROP and Audio Recording for Manuel Valdez Soto #036-661-024



To Whom It May Concern,

This letter constitutes a request under the Freedom of Information Act ("FOIA"), 5 U.S.C.
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036-661-024. He was born in Mexico on October 12, 1967.

This request includes but is not limited to all memoranda, notes, reports, email
messages and all other system records or communications associated with or pertaining
    Case: 1:21-cv-02232 Document #: 37 Filed: 08/01/22 Page 70 of 105 PageID #:505

to Mr. Valdez generated or received by EOIR.
This also includes the record of proceedings for his immigration hearing(s), as well as
any digital or audio recordings of his hearing(s).

And I am requesting all docketing information for Mr. Valez's hearings maintained in the
EOIR case locator system.

Mr. Valdez has signed a waiver, including a certiﬁcate of identity, allowing me to receive
these records. Please ﬁnd a copy of this waiver attached.

As a scholar, blogger and a writer on immigration law enforcement, I am entitled to a
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within the meaning of 5 U.S.C. § 552(a)(4)(A)(iii). The disclosure of this information is
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I am requesting this response be expedited. These are regular system records and will
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Please note as well recent NPR coverage of someone who recently proved his U.S.
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https://urldefense.proofpoint.com/v2/url?u=http-3A__www.npr.org_sections_thetwo-
2Dway_2016_12_22_504031635_you-2Dsay-2Dyou-2Dre-2Dan-2Damerican-2Dbut-
2Dwhat-2Dif-2Dyou-2Dhad-2Dto-2Dprove-2Dit-2Dor-2Dbe-2Ddeported&d=DwIFAw&
c=yHlS04HhBraes5BQ9ueu5zKhE7rtNXt_d012z2PA6ws&
r=CSkbcwI7yUmpQCSc0XdWKHK7fI-OiXR4mtr3VjWPrx8q0pO4CB7B_W2lAXinwcVk&
m=LNL1w0zLTj_P085CPWXWAGQ3HPXZ8cb8kkfvWxsdXso&
s=yBglzGAdJgCjHI65EbzZds6Cusjb9mID_1vYnTlFFrA&e=
 It is clearly of great importance to the proper functioning of a democracy that Congress
and the public obtain real-time information on deportation proceedings involving U.S.
citizens. The pending Comprehensive Immigration Reform legislation further underscores
the need to expedite release of Mr. Valdez's EOIR ﬁle.

If you have any questions, I may be reached by email at jacqueline-
stevens@northwestern.edu or by phone at 847-467-2093.

Please send the requested records to this email address or by regular mail to:

Jacqueline Stevens, Department of Political Science, 601 University Place, Northwestern
University, Evanston, IL 60208.

Thank you very much for your assistance in this matter.

--
Jacqueline Stevens
    Case: 1:21-cv-02232 Document #: 37 Filed: 08/01/22 Page 71 of 105 PageID #:506

Professor
Political Science and Legal Studies Board Northwestern University

Director
Deportation Research Clinic
Buﬀett Center for International and Comparative Studies
http://www.cics.northwestern.edu/programs/deportationresearch/

phone 847-467-2093
fax 847-491-8985

Mail
601 University Place
Department of Political Science
Northwestern University
Evanston, IL 60208

https://urldefense.proofpoint.com/v2/url?u=http-3A__www.jacquelinestevens.org&
d=DwIFAw&c=yHlS04HhBraes5BQ9ueu5zKhE7rtNXt_d012z2PA6ws&
r=CSkbcwI7yUmpQCSc0XdWKHK7fI-OiXR4mtr3VjWPrx8q0pO4CB7B_W2lAXinwcVk&
m=LNL1w0zLTj_P085CPWXWAGQ3HPXZ8cb8kkfvWxsdXso&
s=6lQaojrvNv5AMB3af44oY9VrhHV743R0kYCwB5HmDl0&e=
https://urldefense.proofpoint.com/v2/url?u=http-
3A__stateswithoutnations.blogspot.com&d=DwIFAw&
c=yHlS04HhBraes5BQ9ueu5zKhE7rtNXt_d012z2PA6ws&
r=CSkbcwI7yUmpQCSc0XdWKHK7fI-OiXR4mtr3VjWPrx8q0pO4CB7B_W2lAXinwcVk&
m=LNL1w0zLTj_P085CPWXWAGQ3HPXZ8cb8kkfvWxsdXso&
s=jNvPj2rxeoxBtuiKN9GE9zBxclDQTFgy0r1x8w1cn74&e=
Case: 1:21-cv-02232 Document #: 37 Filed: 08/01/22 Page 72 of 105 PageID #:507




                        EXHIBIT 6
    Case: 1:21-cv-02232 Document #: 37 Filed: 08/01/22 Page 73 of 105 PageID #:508


N600 govt. exhibit for Nathan Aﬁnson aka Alfonso Chavez
Rodriguez and records for US citizen mother

Deportation Research Clinic <drc@northwestern.edu>
Thu 9/19/2019 5:41 PM
To: uscis.foia@uscis.dhs.gov <uscis.foia@uscis.dhs.gov>

  3 attachments (2 MB)
NathanPrivacyWaiver.PDF; ChavezN600DenialRefGovtExhibit.png; JovitaChavezWaiver.jpeg;


To Whom It May Concern,

I write under the Freedom of Informa�on/Privacy Act to obtain all pages withheld and informa�on
redacted from the ﬁles released to me for Nathan I. Anﬁnson, aka Alfonso Chavez based on a b(6)
exemp�on for which the personal informa�on pertained to his mother, Jovita Elena Chavez. (Mr.
Anﬁnson was adopted and at that �me his legal name was changed from Alfonso Chavez Rodriguez.)

I am a�aching a waiver from Mr. Anﬁnson and his mother, Ms. Chavez. (Previously I had a�ached
only the waiver from Mr. Anﬁnson.) The prior case resul�ng in records released to me from USCIS
was NRC2018181013 and APP2019500445.)

I am reques�ng USCIS produce immediately the "Narra�ve Record of Sworn Statement of applicant's
mother" referenced on October 12, 1984 on page 8 of 17 of the INS review of the N600 applica�on
submi�ed by Ms. Chavez on behalf of her son as "Govt. Ex. 1." Please see a�ached image.

(The response of July 2, 2019 includeshigh school transcripts indica�ng a home address and the
physical presence of Nathan's mother, Jovita, in the United States prior to Nathan's birth.)

I also am reques�ng all other system records for Ms. Chavez maintained by USCIS.

The prior decision by USCIS to withhold documents that were submi�ed on Mr. Anﬁnson's behalf to
an immigra�on court by his own a�orney has led already to a delay in the proper review of his claim
to U.S. ci�zenship. Depor�ng U.S. ci�zens is unlawful and puts at risk all U.S. ci�zens, who have
demonstrated a great deal of interest in the U.S. government's ac�ons in this regard. The handling of
my requests for the records of Mr. Anﬁnson violates not only the 5 USC 552 but also the
Administra�ve Procedures Act.

Mr. Anﬁnson obviously needs all documents under USCIS control associated with evidence of his U.S.
ci�zenship; the removal of immigra�on courts from jurisdic�on under the APA is because of plenary
authority for claims of aliens, not U.S. ci�zens. When USCIS fails to produce evidence of US
 ci�zenship this is a serious due process viola�on. Related to this I am also reques�ng all documents
pertaining to Mr. Anﬁnson under USCIS control and referred to ICE as a ma�er of alleged discre�on
and in viola�on of the Privacy Act. USCIS has no legal authority to withhold or delay from release to
me the the records of Mr. Anﬁnson or Ms. Chavez or their personal records. Their rights to their
records are from the Privacy Act.
I am reques�ng a response on an expedited basis due to the high level of public interest in the
deporta�on of U.S. ci�zens and Mr. Anﬁnson's and his mother's current distress about his
deporta�on, I am also reques�ng a waiver of all fees. I will not be using the records for a commercial
    Case: 1:21-cv-02232 Document #: 37 Filed: 08/01/22 Page 74 of 105 PageID #:509
purpose but for my scholarship, journalism, and teaching.
In support of the request for the expedited review and also the waiver, please see links to my own
scholarship, ar�cles, and interviews on U.S. ci�zens detained and deported available
here:h�ps://buﬀe�.northwestern.edu/programs/deporta�onresearch/clinic-in-the-news.html.

Thank you for your assistance with this ma�er. If you have any ques�ons, please feel free to contact
me at 847-467-2093.

Jacqueline Stevens
Professor
Founding Director
Deporta�on Research Clinic
Northwestern University
h�ps://buﬀe�.northwestern.edu/programs/deporta�onresearch/

mail address
601 University Place
Poli�cal Science Department
Evanston, IL 60208
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                        EXHIBIT 7
Case: 1:21-cv-02232 Document #: 37 Filed: 08/01/22 Page 76 of 105 PageID #:511
Case: 1:21-cv-02232 Document #: 37 Filed: 08/01/22 Page 77 of 105 PageID #:512
Case: 1:21-cv-02232 Document #: 37 Filed: 08/01/22 Page 78 of 105 PageID #:513




                        EXHIBIT 8
Case: 1:21-cv-02232 Document #: 37 Filed: 08/01/22 Page 79 of 105 PageID #:514
Case: 1:21-cv-02232 Document #: 37 Filed: 08/01/22 Page 80 of 105 PageID #:515
Case: 1:21-cv-02232 Document #: 37 Filed: 08/01/22 Page 81 of 105 PageID #:516




                        EXHIBIT 9
  Case: 1:21-cv-02232 Document #: 37 Filed: 08/01/22 Page 82 of 105 PageID #:517



                                                                               U.S. Citizenship and Immigration Services
                                                                               National Records Center
                                                                               P.O. Box 648010
                                                                               Lee's Summit, MO 64064-8010




June 24, 2021

                                                                                             PPO2021000202
Jacqueline Stevens
Political Science Dept.
601 University Place
Evanston, IL 60208


Dear Jacqueline Stevens:
This is in response to your Freedom of Information Act/Privacy Act (FOIA/PA) request received in this
office on May 11, 2021 regarding Juan Hurtado Valencia.
We have completed the review of all documents and have identified 331 pages that are responsive to your
request. Enclosed are 222 pages released in their entirety and 64 pages released in part. We are
witholding 8 pages in full. In our review of these pages, we have determined they contain no reasonably
segregable portion(s) of non-exempt information. Additionally, we have referred 31 pages in their
entirety to Immigration and Customs Enforcement, 4 pages in their entirety to United States Secret
Service and some pages in their entirety to another government agency. We have reviewed and have
determined to release all information except those portions that are exempt pursuant to 5 U.S.C. § 552 (b)
(3), (b)(6), (b)(7)(c), and (b)(7)(e) of the FOIA.
The following exemptions are applicable:
Exemption (b)(7)(E) of the FOIA provides protection for records or information for law enforcement
purposes which would disclose techniques and procedures for law enforcement investigations or
prosecutions, or would disclose guidelines for law enforcement investigations or prosecutions if such
disclosure could reasonably be expected to risk circumvention of the law. The types of documents and/or
information we have withheld could consist of law enforcement systems checks, manuals, checkpoint
locations, surveillance techniques, and various other documents.
Exemption (b)(7)(C) provides protection for personal information in law enforcement records, which
could reasonably be expected to constitute an unwarranted invasion of personal privacy. We have
withheld information relating to third-party individuals. The types of documents and/or information that
we have withheld could consist of names, addresses, identification numbers, telephone numbers, fax
numbers, or various other documents that are considered personal.
Exemption (b)(3) permits withholding of records or information if a law specifically exempts the material
from disclosure, including the disclosure of which would be detrimental to security of transportation. The
statute allows us to withhold this information pursuant to 49 U.S.C. 114(r) of the Aviation and
Transportation Security Act.
Exemption (b)(6) permits the government to withhold all information about individuals in personnel,
medical and similar files where the disclosure of such information would constitute a clearly unwarranted
invasion of personal privacy. The types of documents and/or information that we have withheld may
consist of birth certificates, naturalization certificates, drivers’ licenses, social security numbers, home
addresses, dates of birth, or various other documents and/or information belonging to a third party that are
considered personal.



                                                                                www.uscis.gov
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PPO2021000202
Page 2




As a result of discussion between agency personnel and a member of our staff, as a matter of
administrative discretion, we are releasing computer codes found on system screen prints previously
withheld under exemption b(2). There may be additional documents that contain discretionary releases of
exempt information. If made, these releases are specifically identified in the responsive record. These
discretionary releases do not waive our ability to invoke applicable FOIA exemptions for similar or
related information in the future.
The enclosed record consists of the best reproducible copies available. Certain pages contain marks that
appear to be blacked-out information. The black marks were made prior to our receipt of the file and are
not information we have withheld under the provisions of the FOIA or PA.


Sincerely,




Terri White
Acting Director, FOIA Operations

Enclosure(s)
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                        EXHIBIT 10
     Case: 1:21-cv-02232 Document #: 37 Filed: 08/01/22 Page 85 of 105 PageID #:520


Screenshot July 31, 2022
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                        EXHIBIT 11
    Case: 1:21-cv-02232 Document #: 37 Filed: 08/01/22 Page 87 of 105 PageID #:522


RE: USCIS FOIA - Case status change

FOIAPAQuestions <foiapaquestions@uscis.dhs.gov>
Wed 3/10/2021 10:06 AM
To: Jacqueline Stevens <jacqueline-stevens@northwestern.edu>
I have searched our system using your name for any potential FOIA requests that might
have been registered for digital release via a FIRST account. Of the most recent
requests, all were mailed on CD. The most recent request I was able to locate in our
system was NRC2020171187 which was mailed on CD to you on February 21,2021.

At this time, I am unable to determine why you received the email or what request the
email you received would be in relation to. We apologize for any confusion but it appears
all A ﬁle related FOIA requests have been responded to with a CD mailed via the US
Postal Service.

At this time, all FOIA requests located under your name have been responded to. If you
wish to attach a PDF copy of the email you received, we may be able to oﬀer further
assistance. If you have done this previously, I apologize in advance. In following the
lengthy email chain, it appears only a portion copied and pasted into the chain is now
available.

We do not have contact information, other than what may be publicly available, for any
other agency within the US Government.


Sandy Kendall
Government Information Specialist
FOIA Operations
National Records Center

-----Original Message-----
From: Jacqueline Stevens <jacqueline-stevens@northwestern.edu>
Sent: Tuesday, March 09, 2021 5:32 PM
To: FOIAPAQuestions <foiapaquestions@uscis.dhs.gov>
Subject: Re: USCIS FOIA - Case status change

CAUTION: This email originated from outside of the Federal Government. DO NOT click
links or open attachments unless you recognize and/or trust the sender. Contact the
USCIS Security Operations Center with questions or click the “Report Suspicious Email”
button to report it as a phishing attempt.


Hi there,
If you could just send as an attachment to this email address whatever you have I would
appreciate it. Other agencies do this all the time.
Also, to clarify, I do not recall stating that the email was for any other account.
I stated that I did not recall any password for this email tied to a USCIS account, and that
when I tried the reset using this email address I was asked questions for the reset that
were impossible to answer (the place I met my spouse -- I am not married) and blocked
out of accessing the account and that no one at the phone number I was instructed to
call for assistance has to date actually assisted me.
    Case: 1:21-cv-02232 Document #: 37 Filed: 08/01/22 Page 88 of 105 PageID #:523

Also, I received a CD from USCIS for a FOIA I requested via the USCIS email address last
week in the mail. If you will not send me documents by email can you please send
them by snail mail?
Thank you,
Jackie
PS I get that you are confronting what appear to be technical limits in your access to
databases. Your supervisor needs to ﬁgure out these problems. The fact that requesters
cannot access their responsive records-- the entire point of the FOIA -- needs to be
ﬂagged as a major failing on the part of whatever contractor is handling all this; they
should be penalized appropriately.

________________________________________
From: FOIAPAQuestions <foiapaquestions@uscis.dhs.gov>
Sent: Tuesday, March 9, 2021 4:43 PM
To: Jacqueline Stevens
Subject: RE: USCIS FOIA - Case status change

We are trying to assist you with the issues you are experiencing.

You stated the notice was sent to an email diﬀerent from the one you have associated
with your online account. I requested this email to conduct further research but it was
not provided.

Until we obtain the requested additional information, this oﬃce would be unable to assist
you further.

Sandy Kendall
Government Information Specialist
FOIA Operations
National Records Center

-----Original Message-----
From: Jacqueline Stevens <jacqueline-stevens@northwestern.edu>
Sent: Tuesday, March 09, 2021 4:40 PM
To: FOIAPAQuestions <foiapaquestions@uscis.dhs.gov>
Subject: Re: USCIS FOIA - Case status change

CAUTION: This email originated from outside of the Federal Government. DO NOT click
links or open attachments unless you recognize and/or trust the sender. Contact the
USCIS Security Operations Center with questions or click the "Report Suspicious Email"
button to report it as a phishing attempt.


Your oﬃce is in charge of FOIA responses. If requestors cannot physcially access these
responses that is clearly the responsibility of your oﬃce.

________________________________________
From: FOIAPAQuestions <foiapaquestions@uscis.dhs.gov>
Sent: Tuesday, March 9, 2021 4:29 PM
To: Jacqueline Stevens
Subject: RE: USCIS FOIA - Case status change

Since FIRST and MyUSCIS are accessed from the same login screen this is why we refer
    Case: 1:21-cv-02232 Document #: 37 Filed: 08/01/22 Page 89 of 105 PageID #:524

you to others if you are having password or security question issues as the National
Records Center does not have access to this information.

We apologize if it seems we are not trying to assist you but the issues you appear to be
experiencing our beyond our control.

Please provide the email address the original notiﬁcation was sent to and we will
attempt to locate the request and search for a resolution to the problem.


Sandy Kendall
Government Information Specialist
FOIA Operations
National Records Center

-----Original Message-----
From: Jacqueline Stevens <jacqueline-stevens@northwestern.edu>
Sent: Tuesday, March 09, 2021 3:59 PM
To: FOIAPAQuestions <foiapaquestions@uscis.dhs.gov>
Subject: Re: USCIS FOIA - Case status change

CAUTION: This email originated from outside of the Federal Government. DO NOT click
links or open attachments unless you recognize and/or trust the sender. Contact the
USCIS Security Operations Center with questions or click the "Report Suspicious Email"
button to report it as a phishing attempt.


Please see attached information from USCIS stating to contact this email address for
problems accessing my FOIA records.
I am preparing for litigation. I have previously received thousands of pages of
documents in the wake of ﬁve other FOIA lawsuits for over 40 FOIA cases; my attorneys
have been awarded substantial fees.
This is clearly not an expenditure in the interests of justice or the US taxpayers.


________________________________________
From: FOIAPAQuestions <foiapaquestions@uscis.dhs.gov>
Sent: Monday, March 8, 2021 12:35 PM
To: Jacqueline Stevens
Subject: RE: USCIS FOIA - Case status change

When accessing your online account, be sure you are using the same email address used
to create the account. You will need to access your account via ﬁrst.uscis.gov or
myaccount.uscis.gov .

We have no control over your FIRST account https://urldefense.com/v3/__https:
//ﬁrst.uscis.gov
/*__;Iw!!Dq0X2DkFhyF93HkjWTBQKhk!HC4NeCcmGr1nzlBWFrufqKm5ZABylWfvib3cUZgIf
v91G2Rk6pTcBljNnwAI3c2ucM0ACMX50pUXhAM$ when it pertains to your set up,
passwords and security questions.

If you need information about MYUSCIS, a petition or application in process you will need
to contact USCIS https://urldefense.com/v3/__https://www.uscis.gov
    Case: 1:21-cv-02232 Document #: 37 Filed: 08/01/22 Page 90 of 105 PageID #:525

/__;!!Dq0X2DkFhyF93HkjWTBQKhk!HC4NeCcmGr1nzlBWFrufqKm5ZABylWfvib3cUZgIfv91
G2Rk6pTcBljNnwAI3c2ucM0ACMX5g5J-8DA$ or https://urldefense.com/v3/__https:
//my.uscis.gov
/__;!!Dq0X2DkFhyF93HkjWTBQKhk!HC4NeCcmGr1nzlBWFrufqKm5ZABylWfvib3cUZgIfv91
G2Rk6pTcBljNnwAI3c2ucM0ACMX5WCC8O5A$ .

At this time this oﬃce can provide no further assistance without NRC control numbers or
more detailed information regarding your FOIA requests.

Sandy Kendall
Government Information Specialist
FOIA Operations
National Records Center

-----Original Message-----
From: Jacqueline Stevens <jacqueline-stevens@northwestern.edu>
Sent: Friday, March 05, 2021 2:12 PM
To: FOIAPAQuestions <foiapaquestions@uscis.dhs.gov>
Subject: Re: USCIS FOIA - Case status change

CAUTION: This email originated from outside of the Federal Government. DO NOT click
links or open attachments unless you recognize and/or trust the sender. Contact the
USCIS Security Operations Center with questions or click the "Report Suspicious Email"
button to report it as a phishing attempt.


I just tried the phone number. It is an automated system and no one answers. It refers
me to the website. There is no information on how to access an account.
Please give me immediate access to all of my ﬁles responsive to my legal requests.
This is clearly a violation of the APA and the FOIA.

________________________________________
From: FOIAPAQuestions <foiapaquestions@uscis.dhs.gov>
Sent: Wednesday, March 3, 2021 12:02 PM
To: Jacqueline Stevens
Subject: RE: USCIS FOIA - Case status change

Good morning,

At this time our automated system to notify requesters that their digital request is
complete does not state the control number for the FOIA request that the email is tied
to. We realize this is inconvenient to requesters who have a high volume of FOIA
requests and it is something that we are looking at to rectify.

For issues related with your online account, please call the USCIS Contact Center at
1-800-375-5283.

Russell Bronson
Government Information Specialist
FOIA Operations
National Records Center
Immigration Records and Identity Services U.S. Citizenship and Immigration Services
    Case: 1:21-cv-02232 Document #: 37 Filed: 08/01/22 Page 91 of 105 PageID #:526



-----Original Message-----
From: Jacqueline Stevens <jacqueline-stevens@northwestern.edu>
Sent: Monday, March 01, 2021 4:04 PM
To: FOIAPAQuestions <foiapaquestions@uscis.dhs.gov>
Subject: Re: USCIS FOIA - Case status change

CAUTION: This email originated from outside of the Federal Government. DO NOT click
links or open attachments unless you recognize and/or trust the sender. Contact the
USCIS Security Operations Center with questions or click the "Report Suspicious Email"
button to report it as a phishing attempt.


You disregarded my message indicating I cannot access any account associated with the
email address to which you sent this notice. Please note that one of the access
questions asked the city where I met my spouse. I do not have a spouse.
Will you please identify yourself and whether you are paid by the federal govt. or a
contractor.
I am preparing another FOIA lawsuit and I would like to add this to the "patterns and
practices" of USCIS systematic failure to comply with the FOIA statute.
Any assistance accessing documents USCIS is associating with this email address would
be appreciated.
Thank you,
Jackie



________________________________________
From: FOIAPAQuestions <foiapaquestions@uscis.dhs.gov>
Sent: Monday, March 1, 2021 3:39 PM
To: Jacqueline Stevens
Subject: RE: USCIS FOIA - Case status change

If you can send us a list of your requests we can look them up and see which ones have
been processes, or use the instructions below and it should allow you to see all requests
that have processed.

The documents related to this request have been digitally released. To view the
Document Library, click on the down arrow next to the gear icon. The documents can be
downloaded by selecting the arrow icon or printed using the printer icon. Please note
Adobe Acrobat Reader is required to view the documents. I have attached instructions
for you to reference when using our Digital Release system. Our system archives every
90 days so you will need to expand the date search range to allow all your requests
populate onto your FIRST account. Please use a search range of 01/01/2019 through
todays date and you will see all your registered requests.

Thank You,
FOIA/USCIS/DHS
AC


-----Original Message-----
    Case: 1:21-cv-02232 Document #: 37 Filed: 08/01/22 Page 92 of 105 PageID #:527

From: Jacqueline Stevens <jacqueline-stevens@northwestern.edu>
Sent: Monday, March 01, 2021 3:06 PM
To: FOIAPAQuestions <foiapaquestions@uscis.dhs.gov>
Subject: Fw: USCIS FOIA - Case status change

CAUTION: This email originated from outside of the Federal Government. DO NOT click
links or open attachments unless you recognize and/or trust the sender. Contact the
USCIS Security Operations Center with questions or click the "Report Suspicious Email"
button to report it as a phishing attempt.


One more question:
Can you please sign the email and also indicate if you are employed by USCIS or General
Dynamics.
Thank you,
Jackie

________________________________________
From: Jacqueline Stevens <jacqueline-stevens@northwestern.edu>
Sent: Monday, March 1, 2021 3:04 PM
To: FOIAPAQuestions
Subject: Re: USCIS FOIA - Case status change

I cannot access anything because I did not use this interface for the request.
I tried using "password reset" but it asked me security questions I did not recognize,
could not answer, and I do not believe I ever ﬁlled out.
Please note that I have never been asked to access documents this way and recently
received documents from USCIS by CD rom.
I have no idea why this unlawful obstrcution to responsive records is occuring.


________________________________________
From: FOIAPAQuestions <foiapaquestions@uscis.dhs.gov>
Sent: Monday, March 1, 2021 2:34 PM
To: Jacqueline Stevens
Subject: RE: USCIS FOIA - Case status change

We are unable to say.

Thank You,
FOIA/USCIS/DHS
AC



-----Original Message-----
From: Jacqueline Stevens <jacqueline-stevens@northwestern.edu>
Sent: Monday, March 01, 2021 12:51 PM
To: FOIAPAQuestions <foiapaquestions@uscis.dhs.gov>
Subject: Re: USCIS FOIA - Case status change

CAUTION: This email originated from outside of the Federal Government. DO NOT click
links or open attachments unless you recognize and/or trust the sender. Contact the
    Case: 1:21-cv-02232 Document #: 37 Filed: 08/01/22 Page 93 of 105 PageID #:528

USCIS Security Operations Center with questions or click the "Report Suspicious Email"
button to report it as a phishing attempt.


I make dozens of requests. That is why I am asking which one this is.

________________________________________
From: FOIAPAQuestions <foiapaquestions@uscis.dhs.gov>
Sent: Monday, March 1, 2021 12:31 PM
To: Jacqueline Stevens
Subject: RE: USCIS FOIA - Case status change

We cannot say what the Control Number is.


Please provide the subject's ﬁrst and last name (as listed on request), date of birth, alien
number and control number so that we can look up your information in our system.


Thank You,
FOIA/USCIS/DHS
AC


-----Original Message-----
From: Jacqueline Stevens <jacqueline-stevens@northwestern.edu>
Sent: Monday, March 01, 2021 8:37 AM
To: FOIAPAQuestions <foiapaquestions@uscis.dhs.gov>
Cc: Caleb Page Young <CalebYoung2022@u.northwestern.edu>
Subject: Re: USCIS FOIA - Case status change

CAUTION: This email originated from outside of the Federal Government. DO NOT click
links or open attachments unless you recognize and/or trust the sender. Contact the
USCIS Security Operations Center with questions or click the "Report Suspicious Email"
button to report it as a phishing attempt.


This is not responsive to my question.
This response and protocols violate the Administative Procedure Act.
I need to know the actual case number you are claiming is tied to this email.
Thank you,
Jackie Stevens

________________________________________
From: FOIAPAQuestions <foiapaquestions@uscis.dhs.gov>
Sent: Monday, March 1, 2021 8:14 AM
To: Jacqueline Stevens
Subject: RE: USCIS FOIA - Case status change

    The documents related to this request have been digitally released. To view the
Document Library, click on the down arrow next to the gear icon. The documents can be
downloaded by selecting the arrow icon or printed using the printer icon. Please note
Adobe Acrobat Reader is required to view the documents. I have attached instructions
    Case: 1:21-cv-02232 Document #: 37 Filed: 08/01/22 Page 94 of 105 PageID #:529

for you to reference when using our Digital Release system. Our system archives every
90 days so you will need to expand the date search range to allow all your requests
populate onto your FIRST account. Please use a search range of 01/01/2019 through
todays date and you will see all your registered requests.

Thank You,
FOIA/USCIS/DHS
AC


-----Original Message-----
From: Jacqueline Stevens <jacqueline-stevens@northwestern.edu>
Sent: Friday, February 26, 2021 12:54 PM
To: FOIAPAQuestions <foiapaquestions@uscis.dhs.gov>
Subject: Fw: USCIS FOIA - Case status change

CAUTION: This email originated from outside of the Federal Government. DO NOT click
links or open attachments unless you recognize and/or trust the sender. Contact the
USCIS Security Operations Center with questions or click the "Report Suspicious Email"
button to report it as a phishing attempt.


I have no idea to what this email refers. I ﬁle numerous FOIA requests via email. What
is the case number?

________________________________________
From: no-reply-foia@uscis.dhs.gov <no-reply-foia@uscis.dhs.gov>
Sent: Friday, February 26, 2021 12:50 PM
To: Jacqueline Stevens
Subject: USCIS FOIA - Case status change

Jacqueline Stevens,

Your USCIS FOIA/PA request has been processed and has been electronically delivered to
the myUSCIS account you created.
Please log into your account at https://urldefense.com/v3/__https:
//ﬁrst.uscis.gov__;!!Dq0X2DkFhyF93HkjWTBQKhk!DzuU6Mw4wsBRbbui2LY3BitCmiNGFm
A5SgIy2vvtMdyW18lEpIh17YplMsOpd7soyNlyiYVHxBYHHEY$ <https://urldefense.com
/v3/__https:
//ﬁrst.uscis.gov__;!!Dq0X2DkFhyF93HkjWTBQKhk!CpbMqPNAMB7N3SOSbNQ_8ngutj3R7r
s5iabvLbq03y8V73DafmNfoBenOPKPx9w2VI4HmGTAKOZYp9k$> to retrieve, view, and
download your responsive records.

If you have troubles logging into your account, please call the USCIS Contact Center toll-
free at 800-375-5283.
For people who are deaf, hard of hearing or have a speech disability: TTY 800-767-1833.

Thank you,

Jill A. Eggleston
Director, FOIA Operations

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Case: 1:21-cv-02232 Document #: 37 Filed: 08/01/22 Page 96 of 105 PageID #:531




                        EXHIBIT12
     Case: 1:21-cv-02232 Document #: 37 Filed: 08/01/22 Page 97 of 105 PageID #:532


Screenshot, July 31, 2022
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                        EXHIBIT 13
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USCIS FOIA - Case status change

no-reply-foia@uscis.dhs.gov <no-reply-foia@uscis.dhs.gov>
Wed 4/14/2021 3:50 PM
To: Jacqueline Stevens <jacqueline-stevens@northwestern.edu>

Jacqueline Stevens,

Your USCIS FOIA/PA request NRC2020117509 has been processed and has been
electronically delivered to the myUSCIS account you created.
Please log into your account at https://ﬁrst.uscis.gov to retrieve, view, and download
your responsive records.

If you have troubles logging into your account, please call the USCIS Contact Center
toll-free at 800-375-5283.
For people who are deaf, hard of hearing or have a speech disability: TTY
800-767-1833.

Thank you,

Terri White
Acting Director, FOIA Operations

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MESSAGE.
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                        EXHIBIT 14
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[immprof] 18 years

'Dan Kowalski' via ImmProf <immprof@lists.ucla.edu>
Thu 7/21/2022 4:37 PM
To: ICLINIC@LIST.MSU.EDU <ICLINIC@LIST.MSU.EDU>;UCLA immprof
<immprof@lists.ucla.edu>;paulschmidt293 <paulschmidt293@gmail.com>;Jeﬀrey Chase
<jeﬀchase99@gmail.com>;ICLINIC@LIST.MSU.EDU <ICLINIC@LIST.MSU.EDU>
18 years ago today, July 21, 2004, ICE put my USC (na�ve-born) client into (non-detained) removal
proceedings. We are now at the BIA for the 4th �me. At the IJ level, I won the ﬁrst two rounds, lost
the third, and won the last round...the IJ ordered termina�on with prejudice...again. ICE appealed,
again. Really ge�ng �red of this nonsense. There is a structural ﬂaw in the INA if the BIA can evade
judicial review by remanding the case back down to the IJ, over and over again, forever. And as for
�ming on the last round, the BIA brieﬁng closed in April 2021, well over a year ago.

No need to reply, just ven�ng....

Daniel M. Kowalski
Editor-in-Chief
Bender's Immigration Bulletin (LexisNexis)
cell/text/Signal (512) 826-0323
@dkbib on Twitter
dan@cenizo.com
Free Daily Blog: www.bibdaily.com

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To unsubscribe from this group and stop receiving emails from it, send an email to
immprof+unsubscribe@lists.ucla.edu.
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                        EXHIBIT 15
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                        EXHIBIT 16
    Case: 1:21-cv-02232 Document #: 37 Filed: 08/01/22 Page 105 of 105 PageID #:540


Email search August 1, 2022, jacqueline-stevens@northwestern.edu
